Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 1 of 71 PageID #: 11623




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 MIDWEST ENERGY EMISSIONS CORP.        )
 and MES INC.,                         )
                                       )
                     Plaintiffs,       )   PUBLIC VERSION
                                       )
             v.                        )   C.A. No. 19-1334 (CJB)
                                       )
 ARTHUR J. GALLAGHER & CO., et al.,    )   Confidential Version Filed: March 23, 2023
                                       )   Public Version Filed: March 31, 2023
                     Defendants.       )

                   OPENING BRIEF IN SUPPORT OF DEFENDANTS’
                   MOTIONS FOR SUMMARY JUDGMENT AND TO
                  EXCLUDE EXPERT WITNESSES AND TESTIMONY
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 2 of 71 PageID #: 11624




                                                        TABLE OF CONTENTS

                                                                                                                                                 Pages

TABLE OF AUTHORITIES ..........................................................................................................v

TABLE I: TABLES OF DEFENDANTS .................................................................................... ix

TABLE II: FAMILY TREE OF ME2C PATENTS

....................................................................................................................................................... ix

TABLE III: GLOSSARY AND TABLE OF ABBREVIATIONS.............................................. xii

TABLE IV: TABLE OF EXHIBITS ........................................................................................... ix

NATURE AND STAGE OF THE PROCEEDING...................................................................... 1

SUMMARY OF ARGUMENT .................................................................................................... 1

STATEMENT OF FACTS ........................................................................................................... 4

           1.          The Defendants ....................................................................................................... 4

           2.          Coal-Fired Power Plants ......................................................................................... 4

           3.          Use of Chemicals to Reduce Emissions.................................................................. 6

           4.          The U.S. Government Encourages the Development of Methods for
                       Reducing Mercury Emissions from Coal-Fired Power Plants ................................ 6

           5.          Chem-Mod Develops and Markets a Method for Making Refined Coal that
                       Results in Lowered Mercury and NOx Emissions .................................................. 7

           6.          The Patents-in-Suit.................................................................................................. 9

           7.          This Litigation ....................................................................................................... 11

           8.          Plaintiffs License, and Dismiss, Power Plant Defendants .................................... 11

LEGAL STANDARDS GOVERNING THIS MOTION ............................................................. 13

ARGUMENT ................................................................................................................................ 14

           I.          Because Licensed Use of Patents Is Not “Without Authority,” There Can
                       Be No Direct or Indirect Infringement at the ME2C-Licensed Power
                       Plants. .................................................................................................................... 14



                                                                             i
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 3 of 71 PageID #: 11625




      II.     Because No Power Plants Directly Infringe the 147 Patent, There Can Be
              No Indirect Infringement of that Patent. ............................................................... 14

      III.    There Is No Evidence That Any Power Plant Met the Claim Elements of
              Many Other Asserted Claims. ............................................................................... 18

      IV.     Defendants Who Did Not Sell Refined Coal Are Entitled to Summary
              Judgment of Non-Infringement............................................................................. 19

      V.      The Court Should Dismiss All Infringement Claims Based on Lack of
              Knowledge of Infringement. ................................................................................. 19

      VI.     Summary Judgment Should Be Granted Dismissing the Contributory
              Infringement Claims as Against All Defendants. ................................................. 21

              A.        Refined Coal Has Always Had Substantial Non-Infringing Uses. ........... 21

              B.        Refined Coal Is Not Especially Made or Adapted for Use With
                        Activated Carbon, and No Defendant Has Ever Thought
                        Otherwise. ................................................................................................. 24

      VII.    The Claims for Induced Infringement Should Be Dismissed. .............................. 24

              A.        No Defendant Acted to Cause Power Plants to Perform the
                        Activated Carbon Step. ............................................................................. 25

              B.        Selling Refined Coal Was Not an Act of Inducement. ............................. 26

              C.        Defendants Lacked the Necessary Intent to Induce Infringement. ........... 27

      VIII.   The Patents-in-Suit Are Invalid Under 35 U.S.C. §§ 102, 103, and 112. ............. 27

              A.        As Essential Material, Fig. 2 Cannot Be Incorporated by
                        Reference. ................................................................................................. 28

              B.        Regardless of Whether It Contains Essential Material, the
                        Provisional Was Not Properly Incorporated by Reference in
                        Various Priority Chains............................................................................. 29

              C.        The Breaks in the Priority Chain Doom the Later-Issued Patents. ........... 30

              D.        The 147 and 225 Patent Claims Lack Written Description Support
                        for the Application of a Bromine Containing Promoter to the Coal. ........ 33

              E.        The 114, 225, 430, and 517 Patents Are Invalid Under 35 U.S.C.
                        §§ 102 or 103. ........................................................................................... 33




                                                             ii
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 4 of 71 PageID #: 11626




          IX.        Plaintiffs’ Technical Expert, Mr. Philip O’Keefe, Lacks the Knowledge,
                     Skill, Experience, Training, or Education Necessary to Offer Opinions that
                     Would Assist the Trier of Fact, and His Opinions Should Be Stricken. ............... 34

                     A.         Mr. O’Keefe’s Lacks the Qualifications Necessary for His
                                Opinions. ................................................................................................... 34

                     B.         Mr. O’Keefe Should Be Excluded from Offering Opinions on
                                Infringement and Invalidity Because He Lacks the Requisite
                                Knowledge and Skill. ................................................................................ 36

                     C.         Mr. O’Keefe Lacks the Qualification to Testify on Many Discrete
                                Subject Areas Where He Has Offered Opinions....................................... 40

                     D.         Mr. O’Keefe’s Opinions on Matters that Are Improper for Expert
                                Testimony Should Be Excluded................................................................ 42

                     E.         Mr. O’Keefe’s Opinions on Contributory Infringement Should Be
                                Excluded Because He Did Not Consider Non-Infringing Uses by
                                Power Plants Outside of the Case. ............................................................ 44

                     F.         Mr. O’Keefe’s Opinions on Secondary Considerations Are Beyond
                                His Field of Expertise and Based on Fundamental Methodological
                                Errors......................................................................................................... 44

          X.         The Court Should Exclude the Royalty Rate Opinions of Plaintiffs’
                     Damages Expert, Philip Green, Because They Are Not Based on Reliable
                     Methodology. ........................................................................................................ 45

                     A.         Mr. Green Has No Basis to Compare ME2C’s Patents to Anyone
                                Else’s. ........................................................................................................ 45

                     B.         Mr. Green Did Not Apportion the Non-ME2C Royalty Rates. ................ 48

CONCLUSION ............................................................................................................................. 50




                                                                      iii
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 5 of 71 PageID #: 11627




                                               TABLE OF AUTHORITIES


                                                                                                                              Page(s

Cases

Akamai Techs., Inc. v. Limelight Networks, Inc.,
   572 U.S. 915 (2014) .................................................................................................................14

Aloe Coal Co. v. Clark Equip. Co.,
   816 F.2d 110 (3d Cir. 1987).....................................................................................................40

Am. Cruise Lines, Inc. v. HMS Am. Queen Steamboat Co. LLC,
   No. 13-CV-324 (RGA), 2017 WL 3528606 (D. Del. Aug. 16, 2017) .........................42, 43, 44

Amarin Pharma, Inc. v. W.-Ward Pharm. Intl. Ltd.,
  407 F. Supp. 3d 1103 (D. Nev. 2019) ......................................................................................21

Bial-Portela & CA. S.A. v. Alkem Lab. Ltd.,
   2022 WL 4244989 (D. Del. 2022) ...........................................................................................39

Daiichi Sankyo Co., Ltd. v. Apotex, Inc,
   501 F.3d 1254 (Fed. Cir. 2007)................................................................................................37

Daubert v. Merrell Dow Pharm. Inc.,
   509 U.S. 579 (1993) .....................................................................................................13, 42, 44

In re Depomed Pat. Litig.,
    2016 WL 7163647 (D.N.J. Sept. 30, 2016) .............................................................................21

Elcock v. Kmart Corp.,
   233 F.3d 734 (3d Cir. 2000)...............................................................................................34, 40

ePlus, Inc. v. Lawson Software, Inc.,
   764 F. Supp. 2d 807 (E.D.Va. 2011) .......................................................................................48

Ericsson, Inc. v. D-Link Sys., Inc.,
   773 F.3d 1201 (Fed. Cir. 2014)..........................................................................................25, 49

Exela Pharma Sciences, LLC v. Eton Pharmaceuticals, Inc.,
   2022 WL 806524, Case No. 20-cv-365 (D. Del. 2022) ...........................................................13

Fox Factory, Inc. v. SRAM, LLC,
   944 F.3d 1366 (Fed. Cir. 2019)................................................................................................45

Global-Tech Appliances, Inc. v. SEB S.A.,
   563 U.S. 754 (2011) ...............................................................................................19, 20, 21, 25



                                                                   iv
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 6 of 71 PageID #: 11628




Golden Blount, Inc. v. Robert H. Peterson Co.,
   438 F.3d 1354 (Fed. Cir. 2006)................................................................................................21

Guardant Health, Inc. v. Foundation Med., Inc.
   No. 17-1616-LPS-CJB, Slip. Op. (D. Del. Apr. 22, 2020) ................................................48, 50

Halsey v. Pfeiffer,
   750 F.3d 273 (3d Cir. 2014).....................................................................................................13

Hollmer v. Harari,
   681 F.3d 1351 (Fed. Cir. 2012)................................................................................................29

Hypertherm, Inc. v. Am. Torch Tip Co.,
   No. 05-cv-373, 2009 WL 530064 (D.N.H. Feb. 27, 2009) ......................................................39

HZNP Medicines LLC v. Actavis Laboratories UT, Inc.,
  940 F.3d 680 (Fed. Cir. 2019)..................................................................................................26

IOENGINE, LLC v. PayPal Holdings, Inc.,
   607 F. Supp. 3d 464 (D. Del. 2022) .........................................................................................45

JVC Kenwood Corp. v. Nero, Inc.,
   797 F.3d 1039 (Fed. Cir. 2015)................................................................................................14

Kitsch LLC v. Deejayzoo,
    LLC, 2022 WL 17184603 (C.D. Ca. 2022) .............................................................................40

Kyocera Senco Indus. Tools Inc. v. ITC,
   22 F.4th 1369 (Fed. Cir. 2022) ................................................................................................34

LaserDynamics, Inc. v. Quanta Computer, Inc.,
   694 F.3d 51 (Fed. Cir. 2012)..............................................................................................46, 47

Lockwood v. Am. Airlines, Inc.,
   107 F.3d 1565 (Fed. Cir. 1997)................................................................................................30

Lucent Techs., Inc. v. Gateway, Inc.,
   580 F.3d 1301 (Fed. Cir. 2009)..........................................................................................20, 24

McKesson Info. Sols., Inc. v. Bridge Med., Inc.,
  CIV S-02-2669 FCDKJM, 2005 WL 2346919, at *9 (E.D. Cal. Sept. 23,
  2005) ........................................................................................................................................23

Medtronic CoreValve, LLC v. Edwards Lifesciences Corp.,
  741 F.3d 1359 (Fed. Cir. 2014)................................................................................................30

Minks v. Polaris Indus., Inc.,
   546 F.3d 1364 (Fed. Cir. 2008)................................................................................................48



                                                                        v
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 7 of 71 PageID #: 11629




Mondis Tech. Ltd v. LG Electronics, Inc.,
  407 F. Supp. 3d 482 (D.N.J. 2019) ....................................................................................48, 49

Omar v. Babcock,
  177 F. App’x 59 (11th Cir. 2006) ............................................................................................42

Patrick v. Moorman,
   536 Fed. Appx. 255 (3d Cir. 2013) ..........................................................................................42

PayRange, Inc. v. Kiosoft Tech.,
   LLC, No. 20-20970-cv, 2021 WL 7083639 (S.D. Fla. Dec. 22, 2021) ...................................39

PharmaStem Therapeutics, Inc. v. ViaCell, Inc.,
   491 F.3d 1342 (Fed. Cir. 2007)................................................................................................19

Pickholtz v. Rainbow Techs., Inc.,
   260 F. Supp. 2d 980 (N.D. Cal. 2003) .....................................................................................21

Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc.,
   904 F.3d 965 (Fed. Cir. 2018)..................................................................................................48

Power Integrations, Inc. v. Fairchild Semiconductor Intl., Inc.,
   843 F.3d 1315 (Fed. Cir. 2016)................................................................................................25

PPG Industries Ohio, Inc. v. Axalta Coating Systems, LLC,
  2022 WL 610740 (D. Del. Jan. 26, 2022) ................................................................................20

Proveris Sci. Corp. v. Innovasystems, Inc.,
   536 F.3d 1256 (Fed. Cir. 2008)................................................................................................39

ResQNet.com, Inc. v. Lansa, Inc.,
   594 F.3d 860 (Fed. Cir. 2010)............................................................................................45, 50

SA Music LLC v. Apple, Inc.,
   592 F. Supp. 3d 869 (N.D. Cal. 2022) .....................................................................................42

Sanofi v. Glenmark Pharms. Inc., USA,
   204 F. Supp. 3d 665 (D. Del. 2016) .........................................................................................22

Shire Viropharma Inc. v. CSL Behring LLC,
    No.17-414, 2021 WL 1227097 (D. Del. Mar. 31, 2021) .........................................................43

Sony Corp. of Am. v. Universal Studios,
   464 U.S. 417 (1984) .................................................................................................................21

SUNOCO Partners Mktg. & Terminals L.P. v. Powder Springs Logistics, LLC,
  CV 17-1390-LPS-CJB, 2020 WL 7330715 (D. Del. Jan. 13, 2020) .......................................50




                                                                   vi
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 8 of 71 PageID #: 11630




TC Tech. LLC v. Sprint Corp.,
   1:16-CV-00153-RGA, 2019 WL 5295232 (D. Del. Oct. 18, 2019) ..................................45, 46

Toshiba Corp. v. Imation Corp.,
   681 F.3d 1358 (Fed. Cir. 2012)................................................................................................21

Tyco Healthcare Group LP v. Biolitec, Inc.,
   2010 WL 3324893 (N.D. Cal. 2010) .......................................................................................22

In re Tylenol (Acetaminophen) Mktg., Sales Practices & Products Liab. Litig.,
    181 F. Supp. 3d 278 (E.D. Pa. 2016) .......................................................................................42

In re Varma,
    816 F.3d 1352 (Fed. Cir. 2016)................................................................................................15

Vita-Mix Corp. v. Basic Holding, Inc.,
    581 F.3d 1317 (Fed. Cir. 2009)....................................................................................21, 23, 27

W.L. Gore & Associates, Inc. v. C.R. Bard, Inc.,
   No. 11-515-LPS-CJB, 2015 WL 12815314 (D. Del. Nov. 11, 2015) .....................................42

Wordtech Sys., Inc v. Integrated Networks Sols., Inc.,
  609 F.3d 1308 (Fed. Cir. 2010)................................................................................................19

Wright Asphalt Products Co., LLC v. Pelican Ref. Co., LLC,
   2012 WL 1936416 (S.D. Tex. 2012) .......................................................................................40

ZapFraud, Inc. v. Barracuda Networks, Inc.,
   528 F. Supp. 3d 247 (D. Del. 2023) .........................................................................................20

Zenon Env’t, Inc. v. U.S. Filter Corp.,
   506 F.3d 1370 (Fed. Cir. 2007)................................................................................................29

Zimmer Surgical, Inc. v. Stryker Corp.,
   365 F. Supp. 3d 466, 2019 WL 1082336 (D. Del. 2019).........................................................46

Rules and Statutes

37 C.F.R. § 1.57 .............................................................................................................................28

37 C.F.R. § 1.57(d) ..................................................................................................................28, 31

37 C.F.R. § 1.57(d)(1)....................................................................................................................28

35 U.S.C. § 271(a) .........................................................................................................................14

35 U.S.C. § 271(c) .........................................................................................................................26

Fed. R. Civ. P. 56(a) ......................................................................................................................13


                                                                      vii
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 9 of 71 PageID #: 11631




Fed. R. Evid. 702 .....................................................................................................................13, 45




                                                                    viii
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 10 of 71 PageID #: 11632




                                             TABLE I
                                      TABLES OF DEFENDANTS

 Note: RC Defendants comprise four groups, which are in the first four tables: the AJG RC
 Defendants, the DTE RC Defendants, the Alistar Defendant, and the CERT RC Defendants.

 AJG RC Defendants

              Named Defendant                  Accused Power Plant Supplied,          First Named as a
                                                         with Years1                     Defendant2
     Canadys Refined Coal, LLC*            Cope Generating Station (2014–19)        May 3, 2022
     Coronado Refined Coal, LLC            Coronado Generating Station (2013–21)    May 3, 2022
     George Neal Refined Coal, LLC         George Neal Station South (2012–21)      October 7, 2021
     George Neal North Refined Coal, LLC   George Neal Station North (2013–21)      October 7, 2021
     Hastings Refined Coal, LLC            Whelan Energy Center (2020–21)           May 3, 2022
     Jefferies Refined Coal, LLC           Muscatine Generating Station (2013–20)   May 3, 2022
     Joppa Refined Coal, LLC               Joppa Power Plant (2013–21)              July 17, 2019
     Louisa Refined Coal, LLC              Louisa Generating Station (2011–21)      July 17, 2019
     Walter Scott Refined Coal, LLC        Walter Scott Energy Center (2011–21)     July 17, 2019
     Williams Refined Coal, LLC*           Williams Generating Station (2019–21)    May 3, 2022

 DTE RC Defendants

              Named Defendant                  Accused Power Plant Supplied,          First Named as a
                                                         with Years                       Defendant
     Arbor Fuels Company LLC               Weston Generating Station (2016–21)      July 17, 2019
     Superior Fuels Company LLC*           Weston Generating Station (2018–19)      October 7, 2021
     Belle River Fuels Company, LLC        Belle River Power Plant (2011–21)        July 17, 2019
     Huron Fuels Company, LLC*             Belle River Power Plant (2015–21)        October 7, 2021
     Chouteau Fuels Company, LLC           Oak Grove Power Plant (2017–21)          May 3, 2022
     Portage Fuels Company LLC             Columbia Energy Center (2016–21)         July 17, 2019
     Erie Fuels Company, LLC*              Columbia Energy Center (2018–21)         October 7, 2021
     Jasper Fuels Company LLC              Newton Power Station (2012–21)           May 3, 2022
     Newton RC LLC*                        Newton Power Station (2015–18)           May 3, 2022

 * indicates that ME2C is not pursuing damages against this Defendant




 1
       See Senior Decl. Ex. 1 at Ex. C; Lawton Decl. Ex. 2 at Schedule 6.3.
 2
    See D.I. 1 (filed July 7, 2019); SAC: D.I. 281 (filed May 21, 2021); D.I. 326 (filed Oct. 7,
 2021); D.I. 406 (4AC) (filed May 3, 2022).


                                                    ix
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 11 of 71 PageID #: 11633




 The Alistar Defendant

           Named Defendant             Accused Power Plant Supplied,            First Named as a
                                                 with Years                         Defendant
  Alistar Enterprises, LLC           Allen Steam Station (2011–2015)         May 21, 2021
                                     Powerton Generation Station (2017–
                                      2021)

 CERT RC Defendants

           Named Defendant              Accused Power Plant Supplied,           First Named as a
                                                   with Years                       Defendant
  Bascobert (A) Holdings, LLC         Marshall Steam Station (2011–2015)     October 7, 2021
                                      Coleto Creek Power Station (2019–
                                       2021)
  Buffington Partners, LLC          Rush Island Project Generation Facility   October 7, 2021
                                    (2011–2021)
  Cottbus Associates, LLC           Laramie River Station (2013–2021)         October 7, 2021
  Larkwood Energy, LLC              Labadie Energy Center (2013–2021)         October 7, 2021
  Marquis Industrial Company, LLC   Antelope Valley Station (2013–2021)       May 3, 2022
  Rutledge Products, LLC            Limestone Generation Facility (2011–      May 21, 2021
                                    2021)
  Senescence Energy Products, LLC   W.A. Parish Generation Facility (2011–    May 21, 2021
                                    2021)
  Spring Hill Resources, LLC        Big Cajun II Generating Station (2011–    October 7, 2021
                                    2021)

 The Four “CERT Operations Companies” Defendants

           Named Defendant                Supplied Operations at RC             First Named as a
                                            Facility(ies), with Years               Defendant
  CERT Operations II LLC             Marquis Industrial (Antelope Valley     July 17, 2019
                                      Station: 2013–2021)
                                     Alistar (Allen Steam Station: 2011–
                                      2015; Powerton: 2017–2021)
                                     Bascobert (A) (Marshall Steam:
                                      2011–2015)
  CERT Operations IV LLC             Spring Hill Resources (Big Cajun II     July 17, 2019
                                      Generating Station: 2012–2021)
  CERT Operations V LLC              Buffington Partners (Rush Island        July 17, 2019
                                      Project Generation Facility: 2011–
                                      2021)
  CERT Operations RCB LLC            Senescence Energy Products (W.A.        July 17, 2019
                                      Parish Generation Facility: 2013–
                                      2021)


                                              x
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 12 of 71 PageID #: 11634




                                 Bascobert (A) (Coleto Creek Power
                                  Station: 2019–2021)
                                 Rutledge Products, LLC (Limestone
                                  Generation Facility: 2013–2021)
                                 Larkwood Energy (Labadie Energy
                                  Center 2014–2021)
                                 Cottbus Associates (Laramie River
                                  Station: 2013–2021)

 Additional Non-Party CERT Companies

         Operations Company      Supplied Operations at RC Facility,         Power Plant
                                             with Years                Supplied, with Years
                                Shermont Industrial, LLC (2014–2021)   Chesterfield Power
                                                                       Station (2011–2021)
  CERT Operations, LLC
                                Powder Street, LLC (2013–2021)         Mount Storm
                                                                       Generating Station
                                                                       (2011–2021)
  CERT Operations III, LLC      Deogun Manufacturing, LLC (2013–       Intermountain Power
                                2021)                                  Project (2011–2021)




                                         xi
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 13 of 71 PageID #: 11635




                                      TABLE II
                            FAMILY TREE OF ME2C PATENTS3




        `




 3
     Reproduced from Ex. 12 at ¶ 49; Niksa Decl. Ex. A at ¶ 170.


                                               xii
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 14 of 71 PageID #: 11636




                                  TABLE III
                    GLOSSARY AND TABLE OF ABBREVIATIONS


                                             Parties
      AJG RC Defendants             See Table I
      Alistar                       Defendant Alistar Enterprises, LLC
      CERT Defendants               the CERT RC Defendants and the CERT Operations
                                    Companies
      CERT Operations Companies See Table I
      CERT RC Defendants            See Table I
      DTE Energy                    Defendant DTE Energy Resources, LLC
      DTE RC Defendants             See Table I
      Non-Selling Entities          AJG Iowa Refined Coal LLC; DTE Energy Resources,
                                    LLC; and the four CERT Operations Companies
      Plaintiffs or ME2C            Midwest Energy Emissions Corporation (together with
                                    Plaintiff MES, Inc., for purposes of this motion:
                                    “ME2C”)
      RC Defendants                 Defendants alleged to have sold Refined Coal
                                          Non-Parties
      accused power plant           one of the 24 power plants that purchased Refined Coal
                                    from an RC Defendant during the putative damages
                                    period. See Senior Decl. at C-2.
      ADA-ES                        ADA-ES
      AECI                          power plant operator and current licensee of ME2C’s
                                    patents
      Chem-Mod                      Chem-Mod LLC
      Clean Coal Solutions          a licensee of ADA-ES, partially owned by ADA-ES
      EERC                          the Environmental Energy Research Center at the
                                    University of North Dakota
      Nalco                         Nalco Company
      NRG                           power plant operator and former Defendant, current
                                    licensee of ME2C’s patents
      Talen                         power plant operator and former Defendant, current
                                    licensee of ME2C’s patents
      Vistra                        power plant operator and former Defendant, current
                                    licensee of ME2C’s patents
                                           Chemistry
      Br−                           bromide ion
      CaBr2                         calcium bromide
      Hg                            mercury
      NOx                           nitrogen oxides
      SOx                           sulfur oxides
                           Power Plant Emissions Control Technology
      ACI                           activated carbon injection



                                            xiii
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 15 of 71 PageID #: 11637




      ESP                        electrostatic precipitator
      Scrubber (FGD)             flue gas desulfurization system
                                Refined Coal Technology
      Chem-Mod Solution          Chem-Mod’s process for making Refined Coal by
                                 treating feedstock coal with MerSorb and S-Sorb
      MerSorb                    an aqueous solution of 52% calcium bromide by weight
                                 in water; one of the chemicals used in the Chem-Mod
                                 Solution to make Refined Coal
      RC Facilities              specialized facilities built to manufacture Refined Coal
      Refined Coal               coal that qualifies for tax credits under 26 U.S.C. § 45
      S-Sorb                     a dry powder containing byproduct materials from the
                                 cement industry; one of the chemicals used in the
                                 Chem-Mod Solution to make Refined Coal
                       ME2C Patents and Related Materials and Terms
      147 Patent                 U.S. Patent No. 8,168,147
      114 Patent                 U.S. Patent No. 10,343,114
      225 Patent                 U.S. Patent No. 10,589,225
      517 Patent                 U.S. Patent No. 10,596,517
      430 Patent                 U.S. Patent No. 10,668,430
      Activated Carbon Step      the step or steps in each asserted claim that require(s)
                                 the use of activated carbon
      BCP                        “bromine containing promoter,” a term in the 147 Patent
      Bromine Step               the step or steps in each asserted claim that require(s)
                                 the use of bromine
      Fig. 2                     Figure 2 and the accompanying text from the
                                 Provisional
      POSITA                     person of ordinary skill in the art
      Provisional                Provisional Application 60/605,640, dated August 30,
                                 2004
                                   Litigation Materials
      4AC                        ME2C’s Fourth Amended Complaint (D.I. 406)
      Egan Decl.                 Omnibus Declaration of Brian P. Egan in Support of
                                 Defendants’ Summary Judgment and Daubert Motions
      Green Decl.                Declaration of Jeff Green
      Niksa Decl.                Declaration of Dr. Stephen Niksa in Support of
                                 Defendants’ Summary Judgment and Daubert Motions
      Senior Decl.               Declaration of Dr. Constance Senior in Support of
                                 Defendants’ Summary Judgment and Daubert Motions
      Lawton Decl.               Declaration of Catharine M. Lawton in Support of
                                 Defendants’ Summary Judgment and Daubert Motions
                                  Laws and Regulations
      MATS                       Mercury and Air Toxics Standards
      Section 45                 26 U.S.C. § 45




                                           xiv
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 16 of 71 PageID #: 11638




                                         TABLE IV
                                     TABLE OF EXHIBITS

 Note: Unless otherwise stated in the brief, citations to “Ex. __” refer to the Egan Declaration. In
 all instances, page numbers refer to the hard-copy page number on the underlying document, not
 the electronic page of the PDF.

       Lawton Decl.              Declaration of Catharine M. Lawton, dated March 23, 2023
          Lawton Decl. Ex. 1     Exhibit 1 to Lawton Decl. (Excerpts from First Expert Report of
                                 Catharine M. Lawton, dated December 22, 2022)
           Lawton Decl. Ex. 2    Exhibit 2 to Lawton Decl. (Schedules to the First Expert Report
                                 of Catharine M. Lawton, dated December 22, 2022)
           Lawton Decl. Ex. 3    Exhibit 3 to Lawton Decl. (Excerpts from Second Expert Report
                                 of Catharine M. Lawton, dated February 7, 2022)
       Niksa Decl.               Declaration of Dr. Stephen Niksa, dated March 23, 2023
          Niksa Decl. Ex. A      Exhibit A to Niksa Decl. (Excerpts from Opening Expert Report
                                 of Dr. Stephen Niksa, dated October 25, 2022)
           Niksa Decl. Ex. B     Exhibit B to Niksa Decl. (Excerpts from Second Expert Report of
                                 Dr. Stephen Niksa, dated December 22, 2022)
           Niksa Decl. Ex. C     Exhibit C to Niksa Decl. (Excerpts from Third Expert Report of
                                 Dr. Stephen Niksa, dated February 07, 2023)
       Senior Decl.              Declaration of Dr. Constance Senior, dated March 23, 2023
          Senior Decl. Ex. 1     Exhibit A to Senior Decl. (Excerpts from First Expert Report of
                                 Dr. Constance Senior, dated December 22, 2022)
       Green Decl.               Declaration of Jeff Green, dated March 22, 2023
       Egan Decl.                Declaration of Brian Egan, Esq., dated March 23, 2023
          Ex. 1                  Exhibit 1 to Egan Decl. (United States Patent No. 10,343,114 (the
                                 “114 Patent”))
           Ex. 2                 Exhibit 2 to Egan Decl. (United States Patent No. 8,168,147 (the
                                 “147 Patent”))
           Ex. 3                 Exhibit 3 to Egan Decl. (United States Patent No. 10,589,225 (the
                                 “225 Patent”))
           Ex. 4                 Exhibit 4 to Egan Decl. (United States Patent No. 10,596,517 (the
                                 “517 Patent”))
           Ex. 5                 Exhibit 5 to Egan Decl. (United States Patent No. 10,668,430 (the
                                 “430 Patent”))
           Ex. 6                 Exhibit 6 to Egan Decl. (United States Provisional Application
                                 60/605,640, dated August 30, 2004 (the “Prov. App” or “640
                                 application”))
           Ex. 7                 Exhibit 7 to Egan Decl. (Copy of a Fleetwide License and Supply
                                 Agreement, effective July 30, 2020, between Vistra Corp. and
                                 Midwest Energy Emissions Corp)
           Ex. 8                 Exhibit 8 to Egan Decl. (Copy of a Fleetwide License and Supply
                                 Agreement, effective January 5, 2021, between NRG Energy,
                                 Inc., NRG Texas Power LLC, Midwest Generation EME, LLC,
                                 and Midwest Generation, LLC (collectively, “NRG”), and
                                 Midwest Energy Emissions Corp. and MES, Inc.)
           Ex. 9                 Exhibit 9 to Egan Decl. (Copy of a Fleetwide License and Supply
                                 Agreement, effective January 15, 2021, between Brandon Shores
                                 LLC, Talen Generation LLC, Talen Montana, LLC, and H.A.


                                                  xv
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 17 of 71 PageID #: 11639




                          Wagner LLC and Midwest Energy Emissions Corp. and MES,
                          Inc.)
         Ex. 10           Exhibit 10 to Egan Decl. (Copy of a License and Supply Bidding
                          Agreement, effective November 17, 2021, between Associated
                          Electric Cooperative, Inc. (“AECI”), and Midwest Energy
                          Emissions Corp. and MES, Inc.)
         Ex. 11           Exhibit 11 to Egan Decl. (Excerpts from Opening Expert Report
                          of Philip O’Keefe, served by Plaintiffs in this case, dated October
                          25, 2022)
         Ex. 12           Exhibit 12 to Egan Decl. (Excerpts from Rebuttal Expert Report
                          of Philip O’Keefe, served by Plaintiffs in this case, dated
                          December 22, 2022)
         Ex. 13           Exhibit 13 to Egan Decl. (Excerpts from Reply Expert Report of
                          Philip O’Keefe, served by Plaintiffs in this case, dated February
                          6, 2023)
         Ex. 14           Exhibit 14 to Egan Decl. (Excerpts from First Expert Report of
                          Philip Green, served by Plaintiffs in this case, dated October 25,
                          2022)
         Ex. 15           Exhibit 15 to Egan Decl. (Excerpts from Reply Expert Report of
                          Philip Green, served by Plaintiffs in this case, dated December
                          22, 2022)
         Ex. 16           Exhibit 16 to Egan Decl. (Excerpts from the deposition transcript
                          of William Whitney in this case, dated June 28, 2022)
         Ex. 17           Exhibit 17 to Egan Decl. (Excerpts from the deposition transcript
                          of James Landreth in this case, dated August 11, 2022)
         Ex. 18           Exhibit 18 to Egan Decl. (Excerpts from the deposition transcript
                          of Edwin Olson in this case, dated August 26, 2022)
         Ex. 19           Exhibit 19 to Egan Decl. (Excerpts from the deposition transcript
                          of Michael Holmes in this case, dated August 24, 2022)
         Ex. 20           Exhibit 20 to Egan Decl. (Excerpts from the deposition transcript
                          of John Pavlish in this case, dated August 25, 2022)
         Ex. 21           Exhibit 21 intentionally omitted
         Ex. 22           Exhibit 22 to Egan Decl. (Excerpts from the deposition transcript
                          of Vincent Inendino in this case, dated July 15, 2022)
         Ex. 23           Exhibit 23 to Egan Decl. (Excerpts from the deposition of
                          Thomas Erickson in this case, dated September 21, 2022)
         Ex. 24           Exhibit 24 to Egan Decl. (Excerpts from the deposition transcript
                          of Philip O’Keefe in this case, dated March 2, 2023)
         Ex. 25           Exhibit 25 to Egan Decl. (Excerpts from the deposition transcript
                          of Philip O’Keefe in this case, dated March 3, 2023)
         Ex. 26           Exhibit 26 to Egan Decl. (Excerpts from the deposition transcript
                          of Philip Green in this case, dated March 7, 2023)
         Ex. 27           Exhibit 27 to Egan Decl. (Declaration of Jamie Recker, Chief
                          Plant Engineer for Muscatine Power and Water, executed on
                          October 20, 2022)
         Ex. 28           Exhibit 28 to Egan Decl. (Declaration of Robert Poehling, the
                          Chairman of the Board of Public Power Generation Agency,
                          executed on October 14, 2022)




                                           xvi
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 18 of 71 PageID #: 11640




         Ex. 29           Exhibit 29 to Egan Decl. (ME2C’s Responses and Objections to
                          Refined Coal Defendants’ First Set of Requests for
                          Authentication (No.1), dated September 29, 2022)
         Ex. 30           Exhibit 30 to Egan Decl. (Transcript from the Markman Hearing
                          in this case, dated April 28, 2022)
         Ex. 31           Exhibit 31 to Egan Decl. (Report and Recommendation in
                          Guardant Health, Inc. v. Foundation Med., Inc. No. 17-1616-
                          LPS-CJB (D. Del.), dated April 22, 2020)
         Ex. 32           Exhibit 32 to Egan Decl. (February 4, 2021 Final Report prepared
                          by the EERC entitled “Evaluation of Powerton Station Coal for
                          NOx and Hg Reductions – November 25, 2020” (Bates number
                          CERT_0003545))
         Ex. 33           Exhibit 33 to Egan Decl. (August 14, 2020 Final Report prepared
                          by the EERC entitled “Evaluation of Powerton Station Coal for
                          NOx and Hg Reductions – June 1, 2020” (Bates number
                          CERT_0003601))
         Ex. 34           Exhibit 34 to Egan Decl. (Facility Purchase Agreement, made on
                          December 16, 2021, entered into between Alistar Enterprises,
                          LLC and Midwest Generation, LLC (Bates number
                          CERT_0003545))
         Ex. 35           Exhibit 35 to Egan Decl. (October 16, 2019 Final Report
                          prepared by the EERC entitled “Evaluation of Jasper Fuels
                          Company, LLC, Operating Samples for NOx and Hg Reductions
                          – July 30, 2019” (Bates number REF-COAL_00016327))
         Ex. 36           Exhibit 36 to Egan Decl. (October 2, 2014 Final Report prepared
                          by the EERC entitled “Evaluation of Salt River Project Coal for
                          NOx and Hg Reductions – July 21, 2014” (Bates number REF-
                          COAL_00014065))
         Ex. 37           Exhibit 37 to Egan Decl. (August 11, 2015 Final Report prepared
                          by the EERC entitled “Evaluation of Labadie Coal for NOx and
                          Hg Reductions – May 26, 2015” (Bates number
                          CERT_0005738))
         Ex. 38           Exhibit 38 to Egan Decl. (February 9, 2021 Final Report prepared
                          by the EERC entitled “Evaluation of Antelope Valley Station
                          Coal for NOx and Hg Reductions – December 3, 2020” (Bates
                          number CERT_0010003))
         Ex. 39           Exhibit 39 to Egan Decl. (October 27, 2014 Final Report
                          prepared by the EERC entitled “Evaluation of Antelope Valley
                          Station for NOx and Hg Reductions – August 12, 2014” (Bates
                          number CERT_0040881))
         Ex. 40           Exhibit 40 to Egan Decl. (Final Report prepared by the EERC
                          entitled “Evaluation of Labadie Coal for NOx and Hg Reductions
                          – May 26, 2015” (Bates number CERT_0003937))




                                          xvii
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 19 of 71 PageID #: 11641




        Defendants move pursuant to Fed. R. Civ. P. 56(a) for summary judgment on certain claims

 and issues, and pursuant to Fed. R. Evid. 702 to exclude expert witness testimony proffered by

 Plaintiffs. Defendants are identified and described infra at Statement of Facts § 1 and supra at

 Table I. The Declarations of Stephen Niksa, Ph.D.; Constance Senior, Ph.D.; Catharine Lawton;

 Jeff Green; and Brian Egan, Esq. accompany and support Defendants’ motions.

        For the convenience of the Court, because there are 34 moving Defendants, and multiple

 grounds for relief are set forth in this motion, the relief requested is summarized in a detailed

 Proposed Order filed herewith.

                        NATURE AND STAGE OF THE PROCEEDING

        This is a patent infringement lawsuit involving allegations that all 34 remaining

 Defendants indirectly infringe certain method claims of the five patents-in-suit. The operative

 Fourth Amended Complaint (“4AC”) was filed on May 3, 2022. D.I. 406 (4AC). Issue has been

 joined, and the parties have completed fact and expert discovery. The Court has issued a claim

 construction ruling and multiple decisions directed to the pleadings.

                                  SUMMARY OF ARGUMENT

        After five rounds of pleading, and the Court’s or Plaintiffs’ dismissal of numerous claims,

 theories, and defendants, this case has been reduced to allegations that Defendants induced and

 contributed to infringement of the method claims of five patents-in-suit.

        Plaintiffs’ indirect infringement theories are predicated on alleged direct infringement by

 non-party coal-fired power plants (the “accused power plants”), each of which purportedly did two

 things that are necessary (but not sufficient) for direct infringement:

        (i) they burned bromine-treated Refined Coal provided by a Defendant, and

        (ii) they used activated carbon injection (“ACI”) to treat the flue gas produced by
             combusting that Refined Coal.



                                                   1
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 20 of 71 PageID #: 11642




        Plaintiffs’ indirect infringement claims are all based on Defendants’ putative involvement

 in making Refined Coal and selling it to accused power plants. Each of these claims fails.

        No Direct Infringement: In many instances, summary judgment dismissing the indirect

 infringement claims is warranted because there is no direct infringement:

           Some of the accused power plants were authorized to practice the patents-in-suit by
            ME2C, such that they cannot be direct infringers. See Arg. § I.

           ME2C cannot show that any accused power plant directly infringes the 147 Patent. See
            Arg. § II.

           ME2C has no evidence that any accused power plant directly infringes other asserted
            claims requiring more than the Bromine Step and the Activated Carbon Step. See Arg.
            § III.

        No Knowledge of Alleged Infringement: There is no evidence that any Defendant knew

 of any patent-in-suit before it received a complaint accusing it of infringing that patent;

 accordingly, there could be no indirect infringement prior to the date of suit for any Defendant.

 Moreover, because such pleadings are inadequate to establish knowledge of infringement, and

 there is no evidence that any Defendant ever had the requisite knowledge of infringement, all of

 Plaintiffs’ claims should be dismissed on summary judgment. See Arg. § V.

        No Contributory Infringement: As a matter of law, the Defendants that do not sell or offer

 to sell Refined Coal cannot be liable for contributory infringement. See Arg. § IV. The Court

 should also enter summary judgment dismissing the contributory infringement claims against all

 Defendants for two independent reasons:

           First, Refined Coal has substantial non-infringing uses. See Arg. § VI(A).

           Second, Refined Coal is not especially made or adapted for use with ACI. See Arg.
            § VI(B).

        No Active Inducement: ME2C’s inducement claim is based entirely on Defendants’ sales

 of Refined Coal to the accused power plants, which allegedly incentivized those accused power



                                                 2
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 21 of 71 PageID #: 11643




 plants to use ACI when they burned the Refined Coal, thereby infringing the patents-in-suit. But

 with fact and expert discovery now complete, there is no evidence that in selling Refined Coal,

 Defendants encouraged any accused power plant to use ACI; it is undisputed that power plants

 that used ACI chose to do so as their solution for meeting regulatory requirements, not because

 Refined Coal sellers incentivized its use. There can be no inducement where, as here, Defendants

 did not encourage and cause the performance of each step of the claimed method. See Arg. §§ IV,

 VII.

        Patent Invalidity: Summary judgment is also warranted on an issue first addressed during

 the claim construction hearing in this case. D.I. 392 at 32–33, Ex. 30 at 42:25–45:1–9. The named

 inventors omitted from later patent applications a figure and text in their Provisional Application.

 Lacking that “essential material,” the applications do not support claims that cover treating coal

 with bromine, leading to a later priority date and invalidity. See Arg. § VIII.

        Plaintiffs’ Technical Expert Witness:         Defendants seek to exclude Mr. O’Keefe,

 Plaintiffs’ technical expert witness. His relevant education is limited to two introductory college

 chemistry classes and he has no experience or training in the chemistry or use of halogens to treat

 coal, the chemistry or use of ACI to control mercury emissions, or in mercury emissions controls

 generally. He acquired his rudimentary knowledge of this technology solely for this litigation. He

 therefore lacks relevant expertise and cannot assist the trier of fact. The motion also challenges

 opinions proffered by Mr. O’Keefe that are not based on reliable methodology, lack sufficient

 factual support, or are not properly the subject of expert opinion testimony. See Arg. § IX.

        Plaintiffs’ Damages Expert Witness: Defendants also seek to exclude certain royalty rate

 opinions of Mr. Green, Plaintiffs’ damages expert witness, for unreliable methodology—including

 his failure to have “technical comparability” evidence necessary to rely on certain licenses for his




                                                  3
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 22 of 71 PageID #: 11644




 royalty calculation, and a failure to apportion out the value of various licenses that is not

 attributable to licenses on comparable mercury control patents. See Arg. § X.

                                    STATEMENT OF FACTS

 1.      The Defendants

         Each of the 34 Defendants is a Delaware LLC, see D.I. 406 (4AC) ¶¶ 3–36, and may be

 grouped as follows:

            28 “RC Defendants,” each of which owned or leased a Refined Coal facility (“RC
             Facility”) that made Refined Coal and sold it to an accused power plant at relevant
             times. The RC Defendants consist of 10 “AJG RC Defendants,” 9 “DTE RC
             Defendants,” “Alistar,” and 8 “CERT RC Defendants.” Table I identifies each RC
             Defendant, the power plant to which (and when) its RC Facility supplied Refined Coal,
             and the first pleading naming that RC Defendant as a Defendant.

            DTE Energy Resources, LLC (“DTE Energy”), alleged to be an alter ago of the DTE
             RC Defendants or a principal under which the DTE RC Defendants acted as agents
             when they made and sold Refined Coal.

            AJG Iowa Refined Coal LLC (“AJG Iowa”), which never sold Refined Coal to any
             accused power plant. ME2C has refused to dismiss this entity from the case, even for
             claims requiring sales of contributory material.

            Four “CERT Operations Companies,” alleged to operate the CERT RC Facilities. See
             supra at Table I. There is no evidence that any of the four CERT Operations
             Companies ever sold or offered to sell Refined Coal to any accused power plant.

 2.      Coal-Fired Power Plants4

         Coal: Coal is a fossil fuel that is burned for various purposes, including to produce heat to

 make steam to power turbines and generate electricity in coal-fired power plants. Coal is a

 combustible rock composed mostly of carbon (C), with variable quantities of other elements such

 as hydrogen (H), sulfur (S), oxygen (O), and nitrogen (N). All coal contains varying amounts of

 certain other elements, including mercury (Hg).

         Combustion of Coal: When coal is combusted (burned) it reacts with oxygen from air at


 4
      See generally Senior Decl. Ex. 1 at ¶¶ 22–49.


                                                   4
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 23 of 71 PageID #: 11645




 high temperatures, generating substantial heat. Coal is typically pulverized into flour-sized

 particles before it is burned in the boiler (furnace) of a coal-fired power plant.

        The two major products created and released by coal combustion are carbon dioxide (CO2)

 and water (H2O). Because of the various elements in coal, other gases also form when it is

 combusted, such as SOx (sulfur oxides), and NOx (nitrogen oxides). When combusted, coal

 releases elemental mercury (Hg0) as a gas. Heavy particles released during combustion settle in

 the bottom of the furnace as “bottom ash;” fine “fly ash” particles rise up in, and out of, the boiler.

        Coal-Fired Power Plants: A coal-fired power plant may generally be divided into the

 following four functional areas, each having a characteristic associated function and temperature:

           Coal handling and preparation: Facilities for storing coal, crushing it into small
            pieces, pulverizing the pieces into flour-sized particles, and introducing the coal and
            air into the boiler. Certain additives may be introduced onto the coal.

           The furnace (boiler): Here, the coal is combusted (burned), and the heat created in the
            combustion “fireball” is captured to heat and pressurize steam for use in generating
            electricity. The combustion zone of the lower furnace is the hottest part of the plant;
            its temperatures range from 2500 °F (1370 °C) to 3000 °F (1650 °C).

           Air pollution control devices: These devices connect to the flue, through which gases
            flow from the furnace to the smokestack. They minimize the emission of harmful
            substances into the atmosphere, and include:

            o scrubbers (or “flue gas desulfurization” units), which remove SOx from the flue
              gas, and which have been in use since the 1980s;

            o selective catalytic and non-catalytic reducers, which reduce NOx emissions, and
              which have been in use since the 1990s;

            o activated carbon injection (“ACI”) systems, in use since the 1990s to decrease
              mercury emissions from coal-fired power plants. In ACI, activated carbon is
              injected into the flue gas at low temperatures. Brominated activated carbon may
              also be injected into flue gas to capture mercury; and

            o electrostatic precipitators (“ESPs”) and baghouses, which are used to capture
              particulate matter as well as activated carbon that has binded to pollutants.

           Heat recovery systems and the smokestack: These recover heat from the combustion
            gases as they rise up through the stack, and exit into the atmosphere.


                                                   5
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 24 of 71 PageID #: 11646




 3.      Use of Chemicals to Reduce Emissions5

         Technologies directed to reducing emissions from coal-fired power plants have been the

 focus of considerable investigation. Many such technologies and investigations involve the

 introduction of chemicals and other substances into coal-fired power plants for purposes such as

 reducing emissions. Depending on the purpose of the chemicals and their stability at different

 temperatures, some chemicals are added to or mixed with coal; others are injected into the boiler;

 others are injected into flue gas. A 2004 patent assigned to Nalco Company claimed a method for

 reducing mercury emissions by injecting bromine compounds into the flue gas.

 4.      The U.S. Government Encourages the Development of Methods for Reducing
         Mercury Emissions from Coal-Fired Power Plants6

         Recognizing the negative health effects of mercury emissions from coal-fired power plants,

 Congress and various federal agencies took steps to foster the development of methods for

 reducing mercury emissions.

         The government provided grants to public and academic laboratories to study mercury

 emissions and develop methods to decrease mercury emissions. Government reports published in

 1997–98 concluded that the use of halogens such as bromine could aid in mercury capture and that

 well-known sorbents, such as activated carbon, could bind mercury so it could be separated from

 the flue gas stream using an ESP or baghouse. Lawton Decl. Ex. 1 at ¶ 66. One government-

 funded lab, the EERC, received considerable funding for these purposes. EERC employed and

 funded the named inventors on the patents-in-suit at the time of their putative invention.

         Congress enacted a financial incentive program (a tax credit) to encourage private industry

 to develop an improved form of coal—Refined Coal—that, when combusted by a power plant,


 5
      See generally Senior Decl. Ex. 1 at ¶ 73.
 6
      See generally Senior Decl. Ex. 1 at ¶¶ 50–55.


                                                  6
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 25 of 71 PageID #: 11647




 emitted less mercury and NOx than the feedstock coal from which it was prepared. The tax credit

 would be earned through the sale of qualified Refined Coal that met the technical requirements of

 26 U.S.C. § 45 (“Section 45”). Section 45 does not require the use of ACI, either as part of the

 qualification process for Refined Coal or as part of Refined Coal’s use in power plants. See id.

         All evidence regarding how a power plant chooses how to reduce mercury emissions shows

 that the power plant operators made such decisions without input or involvement by the

 Defendants, and that Defendants had no impact on any power plant’s decision to use ACI.

 5.      Chem-Mod Develops and Markets a Method for Making Refined Coal that Results
         in Lowered Mercury and NOx Emissions7

         Long before the issuance of the patents-in-suit, non-party Chem-Mod LLC (“Chem-Mod”)

 developed and patented a method that may be used to create Refined Coal that, when burned, emits

 less Hg and NOx than untreated coal, at a level of reduction that meets or exceeds the Section 45

 requirements. Chem-Mod’s patented process creates Refined Coal by mixing feedstock coal with

 two chemical additives—MerSorb (an aqueous solution of 52% calcium bromide in water), and S-

 Sorb (a dry powder containing byproduct materials from the cement industry).

         a. RC Facilities

         Chem-Mod licensed its patents and associated know-how, and provided chemistry,

 accounting, and engineering consulting services to RC Defendants. Relying on Chem-Mod’s

 patented technology and expertise, RC Defendants constructed and operated facilities to

 manufacture and sell Refined Coal to power plants. The following activities took place in

 connection with each RC Defendant’s business:

            Obtaining Refined Coal production equipment that was in service as of the date
             required by Section 45;


 7
      See generally Senior Decl. Ex. 1 at ¶¶ 81–93; Ex. 14 at ¶¶ 32–44.


                                                  7
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 26 of 71 PageID #: 11648




           Entering into Refined Coal supply agreements, real estate use agreements, and other
            agreements with a coal-fired power plant;

           Biannually submitting samples of feedstock coal and a proposed methodology for
            preparing Refined Coal from that feedstock coal to the EERC for qualification testing.
            At its test facility, the EERC compared the NOx and Hg emissions from combustion of
            feedstock coal with those from combusting the Refined Coal, and issued a report
            qualifying—as meeting the Section 45 technical standards—the Refined Coal prepared
            using no less than the MerSorb and S-Sorb application rates specified in the report.
            The EERC earned more than                   conducting Section 45 qualification testing
            and issuing qualification reports for Refined Coal prepared by the Chem-Mod method,
            including fees paid by Defendants. The qualification testing never used ACI (see, e.g.,
            Exs. 32–33, 35–40);

           Installing Refined Coal manufacturing equipment, and building an RC Facility that
            could retrieve tens or hundreds of millions of tons of feedstock coal from the coal yard
            each year, and manufacture Refined Coal from the feedstock coal;

           Operating the RC Facility, including purchasing and taking possession of the feedstock
            coal, obtaining MerSorb and S-Sorb, manufacturing Refined Coal by moving and
            crushing the feedstock coal, applying the MerSorb and S-Sorb at rates specified in the
            corresponding EERC qualification report, mixing the coal with the chemicals and
            selling and transferring possession of the Refined Coal back to the power plant; and

           Obtaining the capital needed for the foregoing operations, and researching, identifying,
            and marketing to power plants that were potential Refined Coal customers.

        Each RC Defendant’s sale of its Refined Coal to its adjacent power plant qualified for

 Section 45 tax credits because: (i) the EERC tests established that the combustion of Refined Coal

 prepared from the power plant’s feedstock coal using the MerSorb and S-Sorb application rates

 specified for that coal emitted at least 40% less mercury and at least 20% less NOx than would be

 emitted from untreated coal from the same source; and (ii) the Refined Coal was sold to an

 unrelated entity with the expectation that it would be used to produce steam.

        The Hg emissions from combusting Refined Coal could be captured by the power plant’s

 baghouse or ESP without additional chemical treatments.




                                                 8
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 27 of 71 PageID #: 11649




        b. The Power Plants Used Refined Coal Sold by the RC Defendants

        Many power plants, including the 24 accused power plants, combusted Refined Coal made

 by Chem-Mod’s process without using ACI at all.

           From 2009 through 2021, Defendants sold more than                     of Refined Coal
            made by the Chem-Mod Solution to the 24 power plants that ME2C has accused of
            direct infringement. See Senior Decl. Ex. 1 at Ex. C-2. Of that amount sold to accused
            power plants, at least 28%                  s) was burned when the power plant either
            did not have an ACI system installed or did not have that system engaged. Id. at Ex.
            C-2, C-5 (estimating refined coal use prior to ACI installation); Ex. 13 at ¶ 18
            (estimating refined coal use without ACI post-installation).

           In that same period from 2009 through 2021, more than                      of Refined
            Coal made by the Chem-Mod Solution were sold to plants that are not accused in this
            case and that never installed ACI systems. See Senior Decl. Ex. 1 at Ex. C-4, C-5.

 There is no dispute that the sellers of qualifying Refined Coal earned tax credits regardless of

 whether their power plant customers also used ACI at the time. See Ex. 22 at 52:16–22; Ex. 26 at

 173:11–12, 200:20–25.

        Some power plants that purchased Refined Coal from an RC Defendant had an ACI system

 available to use as an additional mercury reduction tool, including to meet the EPA’s Mercury and

 Air Toxics Standard (“MATS”) requirements that went into effect starting in 2015. In many

 instances power plants purchased and combusted Refined Coal for many years before installing

 their ACI system. Senior Decl. Ex. 1 at Ex. C-2; id. at ¶¶ 195–219. And once their ACI system

 was installed, such power plants used ACI only “intermittently” when combusting Refined Coal.

 See, e.g., Ex. 28 at 1; Ex. 27 at 1. There is no evidence that any RC Defendant encouraged ACI

 use at its customers’ power plants.

 6.     The Patents-in-Suit

        Each of the five patents-in-suit names as inventors Edwin S. Olson, Michael J. Holmes,

 and John H. Pavlish, each of whom was employed by EERC at the time of the claimed invention.

 Patent information—including the earliest-dated pleading asserting that patent—follows:


                                                9
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 28 of 71 PageID #: 11650




      Patent No.                    Filing Date          Issue Date       First Pleading, and Date
      8,168,147 (the 147 Patent)    April 6, 2009        May 1, 2012      D.I. 1 (July 17, 2019)
      10,343,114 (the 114 Patent)   May 14, 2018         July 9, 2019     D.I. 1 (July 17, 2019)
      10,589,225 (the 225 Patent)   May 14, 2015         March 17, 2020   D.I. 326 (October 7, 2021)
      10,596,517 (the 517 Patent)   June 4, 2018         March 24, 2020   D.I. 326 (October 7, 2021)
      10,668,430 (the 430 Patent)   May 8, 2018          June 20, 2020    D.I. 326 (October 7, 2021)

 See Exs. 1–5. The claims of all five patents are method claims directed to a process for reducing

 mercury emissions from coal-fired power plants. The claimed processes, inter alia, combine two

 known methods for reducing mercury: the use of bromine and ACI into the flue gas.

        The 147 Patent further requires the use of a molecule serving as what the patent terms a

 “Bromine Containing Promoter,” which must react with an injected activated carbon sorbent to

 create a promoted sorbent, which must then react with mercury in the flue gas.

        The four other patents require, inter alia, (i) coal comprising added (or an additive

 comprising) “Br2, HBr, Br−, or a combination thereof,” and (ii) ACI into the flue gas.

        All five patents purport to claim priority to a Provisional Application 60/605,640, dated

 August 30, 2004 (the “Provisional”). Ex. 6. The Provisional contains “essential material”—

 namely, a figure that Plaintiffs included in their Technology Tutorial, and which, with

 accompanying text, purports to show the addition of bromine to the coal, to the boiler, or after the

 boiler (“Fig. 2”). The early utility applications did not include Fig. 2, stating only that the

 Provisional was “incorporated herein by reference.” The patents’ 12 examples do not involve

 applying bromine material to the coal, and the 147 Patent does not include any statement that the

 bromine material may be applied to or introduced with the coal.

        No patent-in-suit mentions Section 45 tax credits or Refined Coal, or teaches a method to

 reduce NOx emissions or make a Refined Coal complying with Section 45 requirements. By

 contrast, the Chem-Mod patents and technology: (i) teach the manufacture of a product that, when

 combusted, leads to a reduction of mercury and NOx emissions as required for Section 45; (ii) teach


                                                    10
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 29 of 71 PageID #: 11651




 and claim a coal product, which can be prepared and sold by an entity other than a power plant;

 and (iii) do not require ACI.

        ME2C never sought: (i) to use its technology to develop a Refined Coal that would qualify

 for Section 45 tax credits; or (ii) to enter into a business that would or could use its technology to

 create Refined Coal. Instead, ME2C marketed chemicals to power plants, including chemicals for

 adding bromine to coal (the composition of which it kept secret), and its own ACI chemicals.

        Prior to suit, ME2C did not send a demand letter or otherwise provide notice of any of the

 patents-in-suit to any current Defendant. None of the current Defendants was aware of any of the

 patents-in-suit before being named as a Defendant in a pleading that identified such patent.

 7.     This Litigation

        In the nearly four years since this litigation was commenced, Plaintiffs: (i) filed (and

 attempted to file) multiple complaints; (ii) added additional patents-in-suit as they issued;

 (iii) added multiple RC Defendants and other Defendants; and (iv) changed their pleaded theory

 of liability multiple times. In granting successive motions to dismiss, the Court dismissed:

 (i) many parent entities; (ii) joint infringement claims against all Defendants, with prejudice; and

 (iii) all claims for pre-suit damages as against Alistar and all CERT Defendants.

        All of the remaining claims are for indirect infringement—and all are premised on

 allegations that the RC Defendants’ sale of Refined Coal to a power plant (i) induced the power

 plant to use ACI to treat the flue gas produced by combusting the Refined Coal, or (ii) contributed

 to the power plant’s infringement of a patent-in-suit. The Court has issued opinions defining

 Plaintiffs’ evidentiary burdens to prove that any Defendant induced or contributed to infringement.

 8.     Plaintiffs License, and Dismiss, Power Plant Defendants

        The original complaint named as defendants many of the power plant operators who

 purchased and used Refined Coal sold by RC Defendants. The power plant operators filed IPR


                                                  11
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 30 of 71 PageID #: 11652




 petitions against the 147 and 114 Patents, the two patents asserted in the original complaint. The

 PTAB, concluding that there was a reasonable likelihood of unpatentability, instituted review.

 ME2C thereafter granted patent licenses to each power plant operator, including the power plants

 that they operated, and dismissed the power plant defendants. See D.I. 167, 249, 266, 267. The

 power plant operators discontinued the IPR proceedings, which were thereafter dismissed.

        Since the 2019 issuance of the earliest patent-in-suit mentioning coal treatment, ME2C has

 granted licenses to four power plant operators using Refined Coal made by the Chem-Mod

 Solution. See Exs. 7–10. The following chart summarizes the relevant terms:

  Operator               Vistra               NRG                  Talen                AECI
  Effective Date
  License Grant


  Retroactive
  Authorization




                                                                                               .




 Although each of these four license agreements includes a section in which ME2C purports to

 reserve its right to “pursue” third parties for infringement, the clause apparently does not apply to




                                                  12
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 31 of 71 PageID #: 11653




 Refined Coal suppliers. See Ex. 7 at § 2.5; Ex. 8 § 2.5; Ex. 9 § 2.5; Ex. 10 § 2.4. After executing

 its agreements with Talen and AECI, ME2C dismissed their Refined Coal suppliers from this case

 entirely, and ME2C is no longer seeking damages from Vistra’s or NRG’s Refined Coal suppliers

 for the period after the effective dates of those operators’ license agreements. See Ex. 14 at C-1.

                     LEGAL STANDARDS GOVERNING THIS MOTION

         “The court shall grant summary judgment if the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

 Civ. P. 56(a). “[A] court must view the evidence in the light most favorable to the non-moving

 party and give that party the benefit of all reasonable inferences that can be drawn from the

 evidence.” Halsey v. Pfeiffer, 750 F.3d 273, 287 (3d Cir. 2014) (citation omitted). “[A]n inference

 based upon a speculation or conjecture does not create a material factual dispute sufficient to defeat

 summary judgment.” Id. (citation omitted).

         Expert opinion testimony must be “based on sufficient facts or data” and “the product of

 reliable principles and methods . . . reliably applied . . . to the facts of the case.” Fed. R. Evid. 702.

 “The proponent of the expert testimony bears the burden of proving its admissibility by a

 preponderance of evidence.” Exela Pharma Sciences, LLC v. Eton Pharmaceuticals, Inc., 2022

 WL 806524 at *1, Case No. 20-cv-365 (D. Del. 2022). The opinion offered by the expert must be

 “more than . . . unsupported speculation,” “assist the trier of fact to understand the evidence or to

 determine a fact in issue,” and have “a valid scientific connection to the pertinent inquiry as a

 precondition to admissibility.” Daubert v. Merrell Dow Pharm. Inc., 509 U.S. 579, 590–92 (1993).




                                                    13
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 32 of 71 PageID #: 11654




                                           ARGUMENT

 I.      Because Licensed Use of Patents Is Not “Without Authority,” There Can Be No
         Direct or Indirect Infringement at the ME2C-Licensed Power Plants.

         Direct infringement is an element of any indirect infringement claim, see Akamai Techs.,

 Inc. v. Limelight Networks, Inc., 572 U.S. 915, 921 (2014), and direct infringement of a method

 claim requires use of the patented method “without authority.” 35 U.S.C. § 271(a). Because

 ME2C has authorized Vistra and NRG to use its patents, those plants cannot be direct infringers,

 summary judgment should be entered dismissing the indirect infringement claims against Vistra’s

 and NRG’s Refined Coal suppliers.

         In addition to the licenses effective on the “Effective Date” of each agreement,



                                                                                            . These

 releases and covenants retroactively authorized the power plants’ activity, negating any claim of

 direct infringement based on prior acts, and thus precluding any claim of indirect infringement

 predicated on activity at those plants. See JVC Kenwood Corp. v. Nero, Inc., 797 F.3d 1039, 1045

 (Fed. Cir. 2015) (affirming summary judgment of no indirect infringement because defendant’s

 customers were “licensees” of the patents-in-suit and “expressly released from claims of

 infringement”). Accordingly, the claims against Defendants Chouteau, Jasper, Joppa, Newton,

 and Bascobert (A) Holdings, which sold Refined Coal to Vistra plants, and against Alistar,

 Rutledge, Senescence, and Spring Hill, which sold Refined Coal to NRG plants, fail before and

 after the date of those licenses.

 II.     Because No Power Plants Directly Infringe the 147 Patent, There Can Be No
         Indirect Infringement of that Patent.

         Practicing any asserted claim (17–20) of the 147 Patent requires:

            “chemically reacting the sorbent material with a bromine containing promoter to form


                                                  14
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 33 of 71 PageID #: 11655




            a promoted brominated sorbent,” where

           “the bromine containing promoter is in gaseous form, vapor form, or non-aqueous
            liquid form”

           “carbene species edge sites [on the activated carbon] react with the bromine containing
            promoter to form a carbocation paired with a bromide anion”

           “injecting separately the bromine containing promoter into a gas stream”

           “the promoter is reacted in the gas phase or as a vapor”

 Ex. 2 at 23:36–45, Cl. 17 (emphases added throughout).

        The highlighted term “bromine containing promoter” (“BCP”) must refer to the same

 entity each time it appears in a claim. See, e.g., In re Varma, 816 F.3d 1352, 1363 (Fed. Cir. 2016).

 Accordingly, the BCP that is “inject[ed] . . . into a gas stream” must also “chemically react[]” with

 the “separately” injected sorbent—and the reaction must occur by the BCP reacting with “carbene

 species edge sites” on the activated carbon. The claims do not cover anything close to all methods

 for adding bromine to the system, but only those in which a bromine species is in the BCP; the

 BCP is in a particular form; and the BCP undergoes the reaction specified in the claim.

        Plaintiffs have not identified a single substance in the accused power plants that can meet

 each of these BCP limitations. Indeed, at various times ME2C switched among accusing MerSorb,

 bromide ions, calcium bromide, and bromine atoms. See Ex. 11 at ¶ 124 (p. 132), p. 159 (147

 claim 1b), p. 161 (147 claim 17a); p. 150; Ex. 13 at ¶¶ 28, 30.8 Each of these is a distinct species,

 and none meets the claim requirements for a BCP.

        MerSorb: MerSorb, a product that RC facilities added to coal to make Refined Coal, is an

 aqueous (48% water) solution of calcium bromide, CaBr2. Ex. 11 at ¶ 83 (p. 45), p. 159 (147 claim

 1b), p. 156 (114 claim 24e); Niksa Decl. Ex. B at ¶¶ 53, 56, 56 n.28, 60. Because the BCP must


 8
     Because Mr. O’Keefe’s initial infringement report repeats paragraph numbers, it is necessary
 to provide both a page number and a paragraph number to locate the correct cite.


                                                  15
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 34 of 71 PageID #: 11656




 be “in gaseous form, vapor form, or non-aqueous liquid form,” and MerSorb is an aqueous

 solution, MerSorb cannot meet the BCP requirements for at least that reason. Id. Ex. B at ¶¶ 52–

 53, 53 n.25, 56 n.28, 60. Also, because the aqueous solution is destroyed after being added to the

 coal and combusted in the furnace (which is thousands of degrees above the boiling point of water),

 no MerSorb solution remains to undergo the required reactions. Id. at ¶ 56 n.28. Even if some did

 remain, it is unrefuted that it could not engage in the required reaction with the carbene edge sites

 of the sorbent. Id. at ¶¶ 42–43, 60.

        Bromide Ions: Nor can “bromide ions,” or Br−, be the BCP. Even if injecting Refined

 Coal into the combustion chamber of the furnace satisfied the requirement of “injecting” bromide

 ions into a gas stream (it does not), the “gas” or “vapor phase” reaction cannot occur because

 bromide ions do not exist in the gas or vapor phase. Niksa Decl. Ex. B at ¶¶ 23, 27, 46, 52. The

 only evidence on whether bromide ions exist in the gas phase was provided by Dr. Niksa, who

 stated that they do not. Id.; Ex 13 at ¶ 24. Likewise, Dr. Niksa gave unrefuted testimony that the

 electronic structure of bromide ions prevents them from reacting with the carbene edge sites of the

 sorbent in the manner required by the claims. Niksa Decl. Ex. B at ¶¶ 30–40, 42, 48, 50–51.

        Named inventor Dr. Olson also testified that bromide ion could not be a BCP. Ex. 18 at

 82:22–83:2. Plaintiffs have offered no evidence that bromide ions exist in the gas phase, or could

 undergo the required reaction. It is thus undisputed that bromide ions are not the BCP.

        Calcium Bromide: Calcium bromide also fails as the BCP. There is no evidence that

 calcium bromide can be present in the required physical form to react with the activated carbon

 sorbent (it does not exist as a “gas, vapor, or non-aqueous solution” at the lower post-boiler

 temperatures where the reaction with activated carbon must occur), or that calcium bromide can

 undergo the required reaction at all. Niksa Decl. Ex. B at ¶¶ 42–43, 53, 53 n.25, 60. Named




                                                  16
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 35 of 71 PageID #: 11657




 inventor Dr. Olson agreed that calcium bromide cannot be a BCP. It is undisputed that “calcium

 bromide” cannot act as the BCP. Ex. 18 at 82:6–15.

        Bromine Atoms: Finally, unable to identify a single substance that can meet each claim

 requirement for the BCP, Plaintiffs would bypass the entire issue, ignore the plain language of the

 claims, and argue that the BCP is not a substance, but instead are simply “atoms of bromine.” Ex.

 13 at ¶¶ 26, 28. But there is no evidence that BCP should be given anything other than its plain

 meaning—a species or entity that “contain[s]” bromine. Niksa Decl. Ex. B at ¶¶ 28–40, 57–60.

 Because the bromine is the thing being contained by the “bromine containing promoter,” and not

 the thing doing the containing, simple English mandates that bromine atoms cannot be the BCP.

 Id. The specification does not contravene the usual rules of English, but consistently describes the

 BCP as chemical compounds that contain bromine, and not the other way around. Id.; Ex. 2 at

 2:49–64; 21:47–54; Cls. 22–25. That is also how each named inventor used and defined “BCP”

 at their depositions, and how all expert witnesses used the term. See Niksa Decl. Ex. B at ¶ 57

 (POSITA would understand “bromine containing promoter” to refer to a single bromine-

 containing species); Ex. 18 at 45:10–25 (BCP “is a compound that contains bromine . . . .”); Ex.

 24 at 88:1–19 (a BCP would be “[s]ome sort of a bromine-containing compound like calcium

 bromide.”).

        Finally, bromine atoms cannot be the BCP because the required reaction specifies a role

 for the other atoms in the BCP, in addition to the role for the bromine atom. See, e.g., Ex. 2 at Fig.

 2 (showing role for other atoms in the BCP). Niksa Decl. Ex. B at ¶¶ 28–40, 57–60. There is no

 evidence that this required reaction could occur without participation by those other atoms, and




                                                  17
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 36 of 71 PageID #: 11658




 Dr. Olson admitted that many bromine compounds are not BCPs because they cannot participate

 in that reaction—i.e., the other atoms could not play their required role. Id.; Ex. 18 at 53:1–19.9

        Proving infringement of the 147 Patent requires Plaintiffs to identify a BCP in the accused

 process, and to show that the BCP meets each requirement of the asserted claims. They have not

 identified any BCP meeting each requirement. Ex. 13 at ¶¶ 23–30. Summary judgment should be

 granted dismissing all claims based on alleged infringement of the 147 Patent.

 III.   There Is No Evidence That Any Power Plant Met the Claim Elements of Many
        Other Asserted Claims.

        Claims from four of the five patents-in-suit require that the sorbent or mercury-containing

 gas comprises 1–30 g of bromine, or a Br–containing compound, for every 100 g of activated

 carbon sorbent.10 Although Plaintiffs must prove that the power plants used bromine and activated

 carbon sorbent within that range, there is no evidence on the relative amounts of bromine-

 containing compounds and activated carbon sorbent used in the actual operation of any accused

 power plant. Ex. 11 at p. 153.11 Accordingly, Defendants are entitled to summary judgment of no

 indirect infringement of these claims.




 9
     Although the 147 Patent claims require one specific reaction pathway, named inventor Dr.
 Olson admitted that several different reaction pathways involving mercury and bromine were
 possible. See id. at 58:19–59:3; 64:12–19. Plaintiffs’ expert witness, Mr. O’Keefe, admitted that
 he never considered whether bromine could react through pathways other than the one required in
 the patent, rendering his opinion unreliable. Ex. 24 at 108:3-14.
 10
     The claims are claims 4 and 29 of the 114 Patent, claim 17 (and dependent claims 18–20) of
 the 147 Patent, claims 5, 19, and 21 of the 517 Patent, and claims 13 and 17 of the 430 Patent.
 11
     Mr. O’Keefe incorporates his opinion regarding claim 4 of the 114 Patent for all other similar
 claims. Id. at pp. 158, 162, 163, 168, 170, 175, 176.


                                                  18
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 37 of 71 PageID #: 11659




 IV.    Defendants Who Did Not Sell Refined Coal Are Entitled to Summary Judgment of
        Non-Infringement.

        The Court should grant summary judgment of non-infringement for the Defendants who

 have not sold Refined Coal: AJG Iowa Refined Coal LLC; DTE Energy Resources, LLC; and the

 four CERT Operations Companies (together, the “Non-Selling Entities”).

        Liability under 35 U.S.C. § 271(c) requires that a defendant “sell[]” or “offer[] to sell”

 material that contributes to infringement. An “offer[] to sell or s[ale]” requires a specific

 transaction with a change in title or ownership of an article which is then used in the infringing

 method. PharmaStem Therapeutics, Inc. v. ViaCell, Inc., 491 F.3d 1342, 1356–1358 (Fed. Cir.

 2007); Wordtech Sys., Inc v. Integrated Networks Sols., Inc., 609 F.3d 1308, 1317 (Fed. Cir. 2010).

 Similarly, ME2C’s inducement theory also relies on the allegation that each Defendant sold

 Refined Coal. See Ex. 14 at ¶ 3; Ex. 11 at ¶ 99 (p. 123). There is no evidence that any of the Non-

 Selling Entities ever “offer[ed] to sell or [sold]” Refined Coal. See Green Decl. at ¶ 4. Thus, these

 Defendants cannot be liable either for contributory infringement or active inducement.

 Accordingly, the six Non-Selling Entities are entitled to summary judgment of non-infringement.

        One Non-Selling Entity, DTE Energy Resources, LLC, is alleged to be either an alter ego

 of, or the principal for, certain Defendants who made and sold Refined Coal. But there is no

 evidence to support those theories, and that Defendant is also entitled to summary judgment.

 V.     The Court Should Dismiss All Infringement Claims Based on Lack of Knowledge of
        Infringement.

        To be liable for inducement under 35 U.S.C. § 271(b), Defendants must have “knowledge

 of the existence of the patent that is infringed” and “knowledge that the acts [at issue] constitute

 patent infringement”—i.e., Defendants must have known that the conduct they induced actually

 constituted infringement as a matter of law. Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S.

 754, 765–66 (2011). Likewise, to be liable for contributory infringement under 35 U.S.C. § 271(c),


                                                  19
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 38 of 71 PageID #: 11660




 Defendants must have “kn[o]w[n] that the combination of its components was both patented and

 infringing with no substantial non-infringing uses.” Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d

 1301, 1320 (Fed. Cir. 2009).

        There is no evidence that any Defendant had “knowledge of the existence of [any asserted]

 patent” prior to the date on which that Defendant was provided with a complaint attaching the

 patents-in-suit. ME2C cannot rely on their litigation complaint to prove the element of knowledge.

 See ZapFraud, Inc. v. Barracuda Networks, Inc., 528 F. Supp. 3d 247, 251 (D. Del. 2023).

        ME2C may argue that service of a complaint upon each Defendant sufficed to put those

 Defendants on notice of the patents-in-suit. While a complaint may serve as notice of a patent and

 enable knowledge of the patent going forward, this Court has emphasized that a complaint is

 insufficient to constitute the “source of the knowledge required to sustain claims of induced

 infringement and willfulness-based enhanced damages,” Id.; see also id. at 250 (“[t]he purpose of

 a complaint is to obtain relief from an existing claim and not to create a claim” (cleaned up)).

        Plaintiffs’ theory that Defendants were “willfully blind” to the patents-in-suit and to their

 customers’ infringement must also fail. See D.I. 406 (4AC) at ¶ 78. In Global-Tech, the Supreme

 Court identified two requirements for willful blindness: “(1) the defendants must subjectively

 believe that there is a high probability that a fact exists and (2) the defendant must take deliberate

 actions to avoid learning of that fact.” Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754,

 765–66 (2011). A willfully blind defendant is “one who takes deliberate actions to avoid

 confirming a high probability of wrongdoing and who can almost be said to have actually known

 the critical facts.” PPG Industries Ohio, Inc. v. Axalta Coating Systems, LLC, 2022 WL 610740,

 at *4 (D. Del. Jan. 26, 2022). A defendant who “merely knows of a substantial and unjustified

 risk of such wrongdoing” is not willfully blind to that risk. See Global-Tech, 563 U.S. at 770.




                                                  20
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 39 of 71 PageID #: 11661




 There is no evidence that any Defendant held any relevant subjective beliefs regarding ME2C

 patents, or took any deliberate actions to avoid learning of the patents or of potential infringement.

          Accordingly, each of ME2C’s claims for contributory infringement, induced infringement,

 and willful infringement should be dismissed on summary judgment. To the extent that the claims

 are not dismissed on summary judgment, damages for each Defendant with respect to each patent

 must be limited to the period following notice of the patent, as established by the date that the

 Defendant was first served with a complaint attaching the patent.

 VI.      Summary Judgment Should Be Granted Dismissing the Contributory Infringement
          Claims as Against All Defendants.

          A.     Refined Coal Has Always Had Substantial Non-Infringing Uses.

          For their claim of contributory infringement, ME2C must prove that Refined Coal lacks

 substantial non-infringing use. See Toshiba Corp. v. Imation Corp., 681 F.3d 1358, 1361–1363

 (Fed. Cir. 2012); Golden Blount, Inc. v. Robert H. Peterson Co., 438 F.3d 1354, 1363 (Fed. Cir.

 2006).    Any non-infringing use is “substantial” if it is “not unusual, far-fetched, illusory,

 impractical, occasional, aberrant, or experimental.” Vita-Mix Corp. v. Basic Holding, Inc., 581

 F.3d 1317, 1327 (Fed. Cir. 2009). “[S]ubstantial non-infringing use can be shown when ‘a

 significant number of [uses] would be non-infringing.’” Pickholtz v. Rainbow Techs., Inc., 260 F.

 Supp. 2d 980, 989 (N.D. Cal. 2003) (quoting Sony Corp. of Am. v. Universal Studios, 464 U.S.

 417, 442–443 (1984)). There is no minimum amount of use that must be non-infringing, but courts

 regularly find substantial non-infringing use if 5% or more of uses may be non-infringing. See,

 e.g., Amarin Pharma, Inc. v. W.-Ward Pharm. Intl. Ltd., 407 F. Supp. 3d 1103, 1113 (D. Nev.

 2019) (granting summary judgment and finding that substantial non-infringing use of a drug was

 established “[e]ven if [such use] only happens about 5% of the time”); In re Depomed Pat. Litig.,

 2016 WL 7163647, at *69 (D.N.J. Sept. 30, 2016) (non-infringing use indicated for “less than 5%”



                                                  21
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 40 of 71 PageID #: 11662




 of patients was nonetheless substantial); see also Sanofi v. Glenmark Pharms. Inc., USA, 204 F.

 Supp. 3d 665, 684 (D. Del. 2016).

        The accused product here is Refined Coal made by the Chem-Mod Solution—i.e., treating

 feedstock coal with MerSorb and S-Sorb. Ex. 11 at ¶ 111 (pg. 127); ¶ 119 (pg. 131). There is no

 dispute that that product was in widespread non-infringing use throughout the United States for

 the duration of the Section 45 program, which ran from 2009 to 2021, both before and after each

 patent-in-suit issued. See Senior Decl. Ex. 1 at Ex. C; Ex. 25 at 369:6–380:25, 392:7–17. Many

 plants that used Refined Coal during this time period never used ACI at all. See Senior Decl. Ex.

 1 at Ex. C-4. ME2C has left such plants out of this lawsuit, but they nonetheless demonstrate

 substantial non-infringing use of Refined Coal.

        Even plants with ACI systems like Defendants’ customers did not actually use those

 systems continuously. For example,                                                      burned at

 least 59% of its Refined Coal without ACI;                                    burned at least 42%

 of its Refined Coal without ACI;                                        burned at least 34% of its

 Refined Coal without ACI; and                                 burned at least 25% of its Refined

 Coal without ACI. See Senior Decl. Ex. 1 at Ex. C-2; see also Statement of Facts § 5(b), supra.

 Each of these plants, and many others, used Refined Coal without ACI both before and after

 issuance of the patents-in-suit. The use of a product before the patent-in-suit issues is proof of

 substantial non-infringing use. See Tyco Healthcare Group LP v. Biolitec, Inc., 2010 WL

 3324893, at *2–3 (N.D. Cal. 2010). Here, as in Tyco, Plaintiffs do not dispute that such non-

 infringing uses occurred.

        ME2C may argue that after MATS went into effect, the 24 accused power plants needed

 to use ACI “continuously” in order to comply with emissions requirements—avoiding any chance




                                                   22
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 41 of 71 PageID #: 11663




 of non-infringing use. But there is no precedent for looking only at a subset of the time that an

 accused product is on the market, and in any event, there is no dispute that even after MATS, none

 of the accused plants used ACI 100% of the time. See Senior Decl. Ex. 1 at ¶¶ 195–219; Ex. 13

 O’Keefe Reply ¶ 18; see also                (         power plant operator stating that

 “intermittently injected activated carbon . . . during each 30 day MATS monitoring period”)

 (emphasis added); Ex.       (           power plant operator stating “employed activated carbon

 daily, but not continuously, at                 from 2016 through 2021) (emphasis added); Ex. 11

 at ¶ 100 (p. 64) (admitting that                      plants used ACI “only on a temporary basis”

 through 2021). Mr. O’Keefe admitted to multiple non-infringing uses for Refined Coal: (i) power

 plants’ use of Refined Coal without ACI before and after MATS went into effect; (ii) power plants’

 use of Refined Coal without ACI before they installed ACI systems; and (iii) EERC’s decade-long

 use of Refined Coal without ACI for its qualification tests. Ex. 25 at 277:11–16, 282:1–24,

 288:20–289:9, 290:22–291:5, 304:4–10, 348:2–24, 358:9–359:8, 361:1–363:23, 365:3–392:17.

        ME2C may argue that a given power plant’s ability to use Refined Coal in a non-infringing

 manner depends on that power plant using Refined Coal and ACI together at least some of the

 time—possibly to meet MATS. But “[i]f the practice of the patented method [or combination] is

 incidental and necessary to the practice of the unpatented methods, the device is a staple [article

 of commerce] and there can be no contributory infringement.” See, e.g., McKesson Info. Sols.,

 Inc. v. Bridge Med., Inc., CIV S-02-2669 FCDKJM, 2005 WL 2346919, at *9 (E.D. Cal. Sept. 23,

 2005) (citations omitted) (emphasis added); see also Vita-Mix, 581 F.3d at 1327–28 (non-

 infringing use is substantial if product feature that allegedly contributed to infringement has other

 beneficial uses). Thus, even if a power plant chose to use ACI in some instances to remain in




                                                  23
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 42 of 71 PageID #: 11664




 compliance with MATS, the same bromine-containing Refined Coal still had substantial non-

 infringing use at other times—precluding contributory infringement.

        B.      Refined Coal Is Not Especially Made or Adapted for Use With Activated
                Carbon, and No Defendant Has Ever Thought Otherwise.

        ME2C must also prove that the Refined Coal was “especially made or especially adapted

 for use in an infringement of [the] patent.” See Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d

 1301, 1320 (Fed. Cir. 2009). The Refined Coal that is the basis of Plaintiffs’ contributory

 infringement claims was made by mixing feedstock coal with MerSorb and S-Sorb in the amounts

 specified in the EERC qualification reports to meet the Section 45 technical requirements—based

 on a testing process that did not involve ACI. See, e.g., Exs. 32–33, 35–40; Ex. 25 at 364:1–

 373:23; Ex. 11 at ¶ 81 (p. 42); Senior Decl. Ex. 1 at ¶¶ 55–56, 81–87. If Refined Coal was

 “especially made” for anything at all, it was to qualify for Section 45 tax credits. It was not made

 to facilitate, accommodate, or encourage ACI use by power plants. The record does not support

 any assertion that Refined Coal was “especially made or especially adapted for use in an

 infringement,” or that any Defendant “knows” it to have been so made. To the contrary, the

 EERC—the original owner of the 147 Patent, employer of the inventors, and the entity that

 certified the Refined Coal at issue in this case—testified that Refined Coal was made and certified

 to be used

                                                                     at 182:12–183:20.

 VII.   The Claims for Induced Infringement Should Be Dismissed.

        ME2C touts its patented process as a two-step process, because each asserted claim

 requires a power plant to perform at least two steps: a “Bromine Step” and an “Activated Carbon

 Step.” See D.I. 513 ¶ 2. ME2C contends that Defendants are liable for inducing infringement

 based solely on their provision of bromine-treated Refined Coal to power plants, which when



                                                 24
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 43 of 71 PageID #: 11665




 combusted allegedly provides the bromine for the Bromine Step. ME2C further contends that

 Defendants’ sale of bromine-treated Refined Coal induced power plants to use ACI and thereby

 perform the Activated Carbon Step—either because Defendants hoped or expected the power

 plants to use ACI, or because the Defendants actively touted the benefits of using Refined Coal

 and ACI together. See D.I. 513 ¶¶ 6, 9; see also D.I. 406 (4AC) ¶¶ 81–82, 86, 92, 257. The law

 and the record do not support either theory.

        A.        No Defendant Acted to Cause Power Plants to Perform the Activated Carbon
                  Step.

        To induce infringement of a multi-step method claim, a defendant must act to cause a direct

 infringer to perform steps which, taken together, comprise the patented method. Any performance

 not caused by the defendant is irrelevant: the steps induced by the defendant must “constitute

 patent infringement.” Glob.-Tech, 563 U.S. at 766. As this Court has noted, “‘[i]n order to prove

 induced infringement, the patentee must show that the alleged infringer performs, or induces

 another party to perform, every single step in the method.’” D.I. 110 at 13 (emphases added)

 (quoting Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1219 (Fed. Cir. 2014)). If the

 defendant’s acts fail to cause one or more of the claimed steps, there can be no inducement liability.

 See Power Integrations, Inc. v. Fairchild Semiconductor Intl., Inc., 843 F.3d 1315, 1330–31 (Fed.

 Cir. 2016); see also D.I. 513 ¶ 5 (defendant’s act(s) must “‘successfully communicate with and

 induce [the] third-party direct infringer’”) (emphases added) (quoting Power Integrations, 843

 F.3d at 1331).

        There is no evidence that Defendants used words to “lead,” “influence,” “prevail on,” or

 “persuade” their power plant customers to use ACI, an element of each asserted claim. See Glob.-

 Tech, 563 U.S. at 760 (defining “induce”); D.I. 513 ¶ 7. In fact, the record shows that the accused

 power plants made their own decisions about how to meet mercury emissions regulations.



                                                  25
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 44 of 71 PageID #: 11666




                               . See, e.g., Ex. 16 at 22:22–23:10; Ex. 17 at 11:6–12:16. Plaintiffs’

 own technical expert Philip O’Keefe opined that it was only the accused power plants’ desire to

 use ACI to comply with MATS, and not the sale of Refined Coal, that induced power plants to

 install and use ACI systems. Ex. 25 at 375:11–376:3. There is not a shred of evidence that the

 use of Refined Coal spurred a power plant to install or use ACI. To the contrary, there is evidence

 that several power plants unilaterally decided to reduce their ACI use upon adopting Refined Coal.

        B.      Selling Refined Coal Was Not an Act of Inducement.

        As the Court noted in connection with Defendants’ third motion to dismiss, ME2C’s

 primary theory of how Defendants induced infringement is predicated on the provision of Refined

 Coal, only, and does not involve physically providing activated carbon to power plants, verbally

 encouraging power plants to use it, or incentivizing its use. See D.I. 513 ¶¶ 4, 7. As a matter of

 law, however, the mere sale of a product cannot be indirectly infringing unless the plaintiff proves

 the other elements of contributory infringement. See 35 U.S.C. § 271(c). Plaintiffs imply that

 there are two circumstances that made Defendants’ sales of Refined Coal an inducing act. Neither

 argument has merit.

        First, Plaintiffs suggest that the sale of Refined Coal was an inducing act because of the

 price incentives to the power plant. But there is no evidence that the use of ACI depended on the

 price of Refined Coal, or vice versa.

        Second, Plaintiffs suggest that the sale of Refined Coal was an inducing act because plants

 needed to use ACI when they burned Refined Coal in order to comply with MATS. As an initial

 matter, there is no evidence that any Defendant “knew” that. Even so, knowledge that a product

 may be put to infringing uses is not enough: “To prove inducement, a plaintiff must present


                                                 26
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 45 of 71 PageID #: 11667




 evidence of active steps taken to encourage direct infringement; mere knowledge about a product’s

 characteristics or that it may be put to infringing uses is not enough.” HZNP Medicines LLC v.

 Actavis Laboratories UT, Inc., 940 F.3d 680, 701 (Fed. Cir. 2019). There is no evidence that

 Defendants encouraged power plants to use ACI to comply with MATS.

        C.      Defendants Lacked the Necessary Intent to Induce Infringement.

        That fact also dooms Plaintiffs’ intent argument. See Vita-Mix, 581 F.3d at 1329 (“intent

 to induce infringement cannot be inferred even when the defendant has actual knowledge that some

 users of its product may be infringing the patent.”). There is no evidence that Defendants intended

 that their power plant customers would use ACI in combination with Refined Coal in a manner

 that infringed—to meet MATS or otherwise. Rather, Plaintiffs’ theory of intent appears to be that

 when Defendants sold Refined Coal, they: (i) knew that their customers would do whatever it took

 to comply with emissions regulations; (ii) intuited that such compliance would entail the

 simultaneous use of Refined Coal and ACI; and (iii) knew that such simultaneous use infringed

 the patents-in-suit. But there is no evidence that Defendants possessed that necessary knowledge,

 and no support for the proposition that that would be enough for inducement liability.

 VIII. The Patents-in-Suit Are Invalid Under 35 U.S.C. §§ 102, 103, and 112.

        Defendants are entitled to summary judgment that all asserted claims are invalid under 35

 U.S.C. §§ 102, 103, and 112. Every asserted claim, either explicitly or as interpreted by Plaintiffs,

 covers adding bromine-containing additives to coal before the coal is combusted. The 640

 provisional application (the “Provisional”), to which each patent-in-suit purports to claim priority,

 contains a Figure 2 that depicts where bromine might be added to the system. Niksa Decl. Ex. A

 at ¶ 264. Neither Figure 2 nor its associated text (together, “Fig. 2”) was included in the first non-

 provisional application filed in the family, and it disappeared from all applications filed until 2018.




                                                   27
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 46 of 71 PageID #: 11668




 Id. ¶¶ 180, 202.12 The absence of that disclosure in intervening applications defeats any claim of

 priority to the Provisional or the intervening applications. Without that priority claim, the 114,

 225, 430, and 517 Patents are invalid under 35 U.S.C. §§ 102 and 103. The absence of that

 disclosure also creates a deficiency under Section 112 for the 147 and 225 Patents.

        To avoid those conclusions, Plaintiffs argue that: (i) each application in the priority chains

 incorporates the Provisional by reference; and (ii) there is separate disclosure in the intervening

 applications that supports the addition of bromine to coal prior to combustion. The first argument

 fails because regulations prohibit incorporation by reference of essential material like Fig. 2 from

 provisional applications and because the applicants did not identify the incorporated material with

 the required clarity and particularity. The second argument fails because it is premised on

 admittedly untenable readings of the intervening applications.

        A.      As Essential Material, Fig. 2 Cannot Be Incorporated by Reference.

        Fig. 2 is essential material that cannot be incorporated by reference into any of the patents-

 in-suit or intervening applications. Although material may be incorporated into an application, 37

 C.F.R. § 1.57, “essential material” may only be incorporated “by reference to a U.S. patent or U.S.

 patent application publication.” Id. § 1.57(d). “Essential material” includes material necessary to

 “[p]rovide a written description of the claimed invention, and of the manner and process of making

 and using it” as required by section 112. Id. § 1.57(d)(1).

        Fig. 2 is “essential material” because it provides the only potential disclosure of adding

 bromine to coal prior to combustion. Niksa Decl. Ex. C at ¶¶ 18–22, 25.13 Fig. 2 is the basis of


 12
      The undisputed Family Tree of ME2C Patents is reproduced here as Table II to the brief, supra.
 It is reproduced from both sides’ expert reports. The patents-in-suit are yellow; intervening related
 applications are blue.
 13
     Defendants do not concede that Fig. 2 supports a claim of priority to a given application. But,
 for purposes of the question of incorporation, it provides the only potential disclosure.


                                                  28
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 47 of 71 PageID #: 11669




 Mr. O’Keefe’s argument that the patents-in-suit may claim priority to the Provisional. Ex. 12 at

 ¶¶ 54, 55, 85, 94, 105. During deposition, when asked point blank whether they are essential

 material, he agreed “I think so” and “Yes.” Ex. 25 at 240:13–15, 240:25–241:9.

        As essential material necessary for any possible description of adding bromine to coal prior

 to combustion, Fig. 2 may only be incorporated by reference from a U.S. patent or U.S. patent

 application publication. The putative incorporation fails because the Provisional is neither.

        B.      Regardless of Whether It Contains Essential Material, the Provisional Was
                Not Properly Incorporated by Reference in Various Priority Chains.

        Regardless of whether the material from the Provisional is “essential,” the incorporation of

 the Provisional is also improper because the applicants did not identify, with clarity and

 particularity, what was to be incorporated. “Whether and to what extent a patent incorporates

 material by reference . . . is a legal question.” Hollmer v. Harari, 681 F.3d 1351, 1355 (Fed. Cir.

 2012). “To incorporate material by reference, the host document must identify with detailed

 particularity what specific material it incorporates and clearly indicate where that material is found

 in the various documents.” Zenon Env’t, Inc. v. U.S. Filter Corp., 506 F.3d 1370, 1378 (Fed. Cir.

 2007) (internal quotation marks omitted).

        The intervening applications in the priority chain do not meet this standard. The 114 Patent

 purports to claim priority through U.S. Patent Nos. 8,652,235 and 9,468,886, and Application No.

 15/295,594. Niksa Decl. Ex. A at ¶ 170; id. at p. 101. These documents state only that they

 incorporate the disclosures of the Provisional “to the extent appropriate.” Ex. 12 at pp. 25–27.

 There is no direction as to what is “appropriate” to incorporate from the Provisional or where that




                                                  29
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 48 of 71 PageID #: 11670




 material is found in the Provisional.14 As a result, Fig. 2 is not incorporated into those intervening

 applications, breaking the priority chain before the 114 Patent was filed in May 2018.

        The incorporation of any contents of the Provisional in the priority chain leading to the

 225, 430, and 517 Patents is similarly deficient. Those patents purport to claim priority through

 U.S. Patent Nos. 8,512,655; 8,821,819; and 9,757,689. Niksa Decl. Ex. A at ¶ 170; id. at p. 101.

 Each of those intervening patents includes a generic statement of incorporation that does not

 incorporate the Provisional in its entirety and then purports to claim priority to the Provisional “to

 the extent appropriate.” Ex. 12 at pp. 19–21. Again, the vague language does not clearly indicate

 what is incorporated from the Provisional or where it is found. That reflects a complete failure to

 incorporate Fig. 2 into those intervening applications, and so breaks the priority chain at least prior

 to the filing of the 225 Patent in May 2015.15

        C.      The Breaks in the Priority Chain Doom the Later-Issued Patents.

        Because Fig. 2 was not and could not have been incorporated by reference into the patents-

 in-suit or intervening applications, the priority dates can be set. See Medtronic CoreValve, LLC v.

 Edwards Lifesciences Corp., 741 F.3d 1359, 1363 (Fed. Cir. 2014) (“Determination of a patent’s

 priority date is purely a question of law if the facts underlying that determination are undisputed.”).

 Plaintiffs contend that every asserted claim covers adding bromine-containing additives to coal

 prior to the combustion of the coal. But this requires that each application in the proposed priority

 chain provide written description of adding bromine to coal before combustion; the chain ends

 with any non-compliant application. See Lockwood v. Am. Airlines, Inc., 107 F.3d 1565, 1571



 14
    Moreover, Dr. Niksa confirmed that such language would not inform a POSITA what material
 from the Provisional was intended to be incorporated. Niksa Decl. Ex. C at ¶¶ 27–28.
 15
     Because Figure 2 is not physically copied into the 225 Patent and cannot be incorporated into
 it by reference, the break in the priority chain continues through the 225 Patent as well.


                                                   30
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 49 of 71 PageID #: 11671




 (Fed. Cir. 1997) (“In order to gain the benefit of the filing date of an earlier application under 35

 U.S.C. § 120, each application in the chain leading back to the earlier application must comply

 with the written description requirement of 35 U.S.C. § 112.”).

         For the 114 Patent, there is no support for adding bromine to coal prior to combustion in

 any intervening application in its priority chain prior to the May 14, 2018 filing of the application

 underlying the 114 Patent. Niksa Decl. Ex. A at ¶¶ 268–279, 286–290. For the priority chain

 leading to the 225, 430, and 517 Patents, there is no support for adding bromine to coal prior to

 combustion in any intervening application in that priority chain prior to the April 12, 2018 filing

 of the application underlying U.S. Patent No. 10,933,370. Id. at ¶¶ 293–311.16

         Mr. O’Keefe has not identified disclosure of adding bromine to coal prior to combustion

 in any intervening patents. First, to the extent he relies on the incorporation of the Provisional into

 intervening patents, Fig. 2 is not and cannot be incorporated by reference. Second, his agreement

 that Fig. 2 is essential material confirms that any other common disclosure in the intervening

 applications is not sufficient to provide support under Section 112. If Fig. 2 is necessary to provide

 written description support, see 37 C.F.R. § 1.57(d), then the disclosure omitting it is insufficient.

 Third, the disclosure Mr. O’Keefe identified in the intervening applications in Figures 3, 10, and

 5 could not reasonably be found to be sufficient disclosure.

         Figure 3:     Mr. O’Keefe points to Figure 3 and related description from the 595

 application,17 which is a predecessor to all four patents, as teaching multiple injection points for




 16
     Again, Defendants do not concede that the inclusion of Figure 2 from the provisional provides
 sufficient disclosure, see supra n.13, but for purposes of priority, the point is the inclusion of Figure
 2 is the earliest possible date for disclosure supporting priority.
 17
      Mr. O’Keefe’s arguments regarding the 595 Application also apply to the 163 Application that
 is a predecessor to all four patents. Ex. 12 at ¶ 95.


                                                    31
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 50 of 71 PageID #: 11672




 bromine. Ex. 12 at ¶¶ 86, 106. But neither has anything to do with pre-treating coal with bromine

 before combustion, and Mr. O’Keefe provides no reasons that they would.

        Example 10: Mr. O’Keefe relies on Example 10 from the application, but in that example

 a pre-treated activated carbon sorbent—not pre-treated coal—was injected into the flue gas after

 the boiler. The accompanying text states: “In general however, the inventive sorbent can be

 injected where desired (e.g., before, after, or within the boiler).” Id. at ¶¶ 87–88. But both the

 figure and the statement refer to the already brominated-sorbent, and not the bromine containing

 promoter, or bromine-treated coal. A POSITA would never understand that to pertain to either an

 Activated Carbon sorbent or a Brominated Activated Carbon sorbent, Niksa Decl. Ex. C at ¶¶ 35–

 37, because putting either material into the boiler would defeat the point of the invention: those

 substances would be incinerated in the fireball. Every POSITA would know, and the claims and

 specifications reflect, that those materials are added to the cooler flue gas, after the boiler. Mr.

 O’Keefe confirmed this at his deposition, Ex. 24 at 170:6–174:23, and also that Example 10 does

 not disclose adding bromine in any form to coal, or adding any bromine species anywhere into the

 flue gas before the bromine is reacted with the activated carbon sorbent. Id. at 164:23–165:17.

        Figure 5: Finally, for the 114 Patent, Mr. O’Keefe points to Figure 5 from the 594, 896,

 and 058 applications. Ex. 12 at ¶¶ 89, 91–92. But Figure 5 does not describe adding bromine to

 the coal, as opposed to other systems upstream of the combustion chamber. Niksa Decl. Ex. A at

 ¶¶ 289–290; id. Ex. C at ¶¶ 45–46. Mr. O’Keefe has not refuted that point.18

        In sum, the 114 Patent is entitled to a priority date no earlier than its May 14, 2018 filing

 date; the 430 and 517 Patents are entitled to a priority date no earlier than the predecessor 370


 18
     Even if Figure 5 provided sufficient support for adding bromine to coal prior to combustion,
 the earliest-filed 058 application was filed April 23, 2009. As that still postdates the prior art
 references discussed below by three or four years, it would not change the ultimate conclusion.


                                                 32
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 51 of 71 PageID #: 11673




 Patent filing date of April 12, 2018; the 225 Patent is entitled to a priority date no earlier than its

 May 14, 2015 filing date.

        D.        The 147 and 225 Patent Claims Lack Written Description Support for the
                  Application of a Bromine Containing Promoter to the Coal.

        Although the applicants eventually copied Fig. 2 from the Provisional into later patent

 applications, they did not do so for the applications leading to the 147 and 225 Patents. For reasons

 stated previously, the omission of the “essential” Fig. 2 from applications leading to the 147 and

 225 Patents means those patents lack written description of adding bromine to coal prior to

 combustion and are invalid under Section 112(a) to the extent they purport to cover the use of pre-

 treated coal, as Plaintiffs contend. Id. Ex. A at ¶¶ 486, 490.

        Try as they may, Plaintiffs have not created a genuine disputed issue of material fact. With

 respect to the 147 Patent, Mr. O’Keefe points to Figure 3 and the related statement that multiple

 injection points for bromine and sorbent are within the scope of the invention, as well as Figure 1

 showing multiple paths to inject activated carbon into the flue gas. Ex. 12 at ¶¶ 230–233. None

 of these has anything to do with pre-treating coal with bromine before combustion, nor does Mr.

 O’Keefe explain that they would. Instead, he contends they show injecting the bromine containing

 promoter into a gas stream separate from the sorbent. Id. Dr. Niksa’s opinion on the 147 Patent

 is unrebutted.

        Scouring the 225 Patent for a disclosure, Mr. O’Keefe turns to Fig. 2 from the Provisional.

 Id. at ¶ 241. But Fig. 2 was not copied into the 225 Patent and, as essential material, it could not

 be incorporated by reference. Example 10 fails too, as explained above.

        E.        The 114, 225, 430, and 517 Patents Are Invalid Under 35 U.S.C. §§ 102 or
                  103.

        Based on the priority dates for the 114, 225, 430, and 517 Patents set out above in Section

 VIII(C), the undisputed facts show that the asserted claims of each of those patents are invalid


                                                   33
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 52 of 71 PageID #: 11674




 under 35 U.S.C. §§ 102 or 103. Defendants’ expert Dr. Niksa established that the asserted claims

 of those four patents are either anticipated or rendered obvious by the Sjostrom, Eckberg, and

 Olson-646 references. Niksa Decl. Ex. A at ¶¶ 19, 499–635 (114 Patent), ¶¶ 21, 812–845, 889–

 917 (225 Patent), ¶¶ 25, 1037–1164 (517 Patent), ¶¶ 27, 1317–1456 (430 Patent), ¶¶ 418–434

 (motivation to combine).

        Mr. O’Keefe did not rebut the substance of Dr. Niksa’s opinion. He offers no opinions

 directed to Eckberg or Olson-646. His only response on any of the art is that Sjostrom is not prior

 art because its date of January 2005 came after Plaintiffs’ claimed priority date, based on the

 Provisional. Ex. 12 at ¶¶ 155–156. Without the benefit of the Provisional, Sjostrom, too, is prior

 art, and Mr. O’Keefe’s sole argument against the invalidity of those patents fails. Defendants are

 entitled to summary judgment that the asserted claims of the 114, 225, 430, and 517 Patents are

 invalid under 35 U.S.C. §§ 102 & 103.

 IX.    Plaintiffs’ Technical Expert, Mr. Philip O’Keefe, Lacks the Knowledge, Skill,
        Experience, Training, or Education Necessary to Offer Opinions that Would Assist
        the Trier of Fact, and His Opinions Should Be Stricken.

        “To offer expert testimony from the perspective of a skilled artisan in a patent case—like

 for . . . validity[] or infringement—a witness must at least have ordinary skill in the art.” Kyocera

 Senco Indus. Tools Inc. v. ITC, 22 F.4th 1369, 1376–77 (Fed. Cir. 2022) (emphasis added). More

 generally, while the Third Circuit has “a generally liberal standard of qualifying experts[,]” it has

 “also set a floor with respect to an expert witness’s qualifications.” Elcock v. Kmart Corp., 233

 F.3d 734, 742 (3d Cir. 2000).

        A.      Mr. O’Keefe’s Lacks the Qualifications Necessary for His Opinions.

        Education: Mr. O’Keefe has no graduate degree, nor any degree in chemistry. He has a

 Bachelor’s degree in Mechanical Engineering, which required only two introductory chemistry

 courses he took in the 1970s. Ex. 24 at 17:7–18:1, 18:17–19. His only on-the-job training


                                                  34
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 53 of 71 PageID #: 11675




 involving chemistry related to water purification, in the early 1980s. Id. at 11:21–12:17, 16:8–11.

 He has never attended any conference related to mercury control or gas emissions from power

 plants, id. at 79:15–20, nor has he taken any course on activated carbon, id. at 42:6–42:11.

        Experience: Mr. O’Keefe worked as a power plant engineer at Commonwealth Edison

 from 1981 to 1995, long before power plants employed mercury control technology of any kind,

 and twenty years before the EPA’s MATS regulations went into effect starting in 2015. Id. at

 11:1–3, 19:19–20:2; Ex. 25 at 343:22–345:19. None of the power plants Mr. O’Keefe worked at

 during his time at ComEd had any emission control technologies other than ESPs, and none had

 mercury emission control systems. Ex. 24 at 31:3–32:12. He confirmed that “no” part of his “time

 at ComEd ha[d] to do with the control of the amount of mercury emitted from the plant.” Id. at

 24:7–10.

        The training courses he attended at ComEd were largely management training classes, save

 one pollution control class on how electrostatic precipitators (ESPs) control fly ash. Id. at 10:21–

 25, 11:6–14, 13:11–14:14. His role at ComEd with ESPs and fly ash control was writing “tech

 staff” procedures on how to inspect ESPs. Id. at 14:7–23. His responsibility for training plant

 engineers at ComEd did not include measuring pollutant levels, or control of mercury or any other

 emissions—except for an “[a]udit course on [ESPs]”. Id. at 23:1–4, 23:15–24, 24:3–6.

        None of the ComEd plants during Mr. O’Keefe’s employment had ACI systems, and Mr.

 O’Keefe never worked at a power plant with an ACI system. Id. at 41:18–42:25. Mr. O’Keefe

 has never taught nor attended any course relating to ACI. Id. at 42:6–42:11. All of Mr. O’Keefe’s

 understanding of ACI systems results “entirely” from his work on this case. Id. at 42:12–19. Yet

 he has never visited a power plant with an ACI system. Id. at 55:16–18. Outside of this case, he

 has never done any study of ACI systems. Id. at 55:19–24. But even for this case, he did not visit




                                                 35
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 54 of 71 PageID #: 11676




 any coal-fired power plants. Id. at 54:24–55:1. He did not visit any plants accused of infringement,

 id. at 58:9–11, or communicate with them. Id. at 59:1–4. Thus, he never visited or observed a

 power plant that uses Refined Coal, id. at 66:5–11, nor observed the production of Refined Coal.

 Id. at 66:23–25. He never visited a power plant that uses ME2C products, nor observed their

 production. Id. at 66:17–22. He never visited a plant that uses brominated activated carbon. Id.

 at 67:1–3.

        Mr. O’Keefe has no professional experience working with power plants on MATS

 compliance or compliance with any other mercury emission control regulation. Ex. 25 at 345:20–

 346:7. Outside of his work in this case, Mr. O’Keefe has not conducted any research or published

 regarding MATS compliance. Id. at 346:8–21. Outside of this case, Mr. O’Keefe has no training,

 education or teaching experience on MATS compliance. Id. at 346:18–25. Mr. O’Keefe’s entire

 understanding of MATS compliance has come as a result of his work as an expert witness in this

 case. Id. at 347:1–4.

        Mr. O’Keefe’s understanding of mercury control results “entirely” from this case. Ex. 24

 at 42:203–25. By his own admission, Mr. O’Keefe has been self-employed as a professional expert

 witness for the last twenty years, and any expertise he has is in “general” “mechanical and

 electrical engineering,” with “[n]o focus.” Id. at 8:17–9:3, 9:15–22. Other than this case, none of

 his work as an expert has involved chemistry. Id. at 47:7–9.

        B.      Mr. O’Keefe Should Be Excluded from Offering Opinions on Infringement
                and Invalidity Because He Lacks the Requisite Knowledge and Skill.

        The level of ordinary skill is disputed and must be determined, which begins with

 identifying the relevant art. The patents-in-suit describe the field of invention as “the removal of

 pollutants from flue gas,” particularly the removal of mercury by reactive regenerable sorbents.

 Ex. 2 at 1:28–33. Similarly, the claims are directed to methods of treating a mercury-containing



                                                 36
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 55 of 71 PageID #: 11677




 gas to separate or reduce mercury. Id. at cl. 1; Ex. 1 at cl. 1; Ex. 3 at cl. 1; Ex. 4 at cl. 1; Ex. 5 at

 cl. 1. The specification assumes familiarity with the properties of activated carbon, chemical

 concepts regarding mercury capture, and the formulation and testing of brominated activated

 carbon. E.g., Ex. 2 at 7:16–23, 7:51–8:20, 14:29–22:55, fig. 2. Thus, the relevant art is the use of

 halogens and sorbents to reduce mercury emissions from coal-fired power plants.

         The educational level of the inventors and others in the field, as well as the sophistication

 of the technology, are informative as to the level of ordinary skill. Daiichi Sankyo Co., Ltd. v.

 Apotex, Inc, 501 F.3d 1254, 1256 (Fed. Cir. 2007). The three inventors have a high level of

 education or experience. At the time of the alleged invention, Inventor Olson held a Ph.D. in

 Chemistry and Physics and had eight years’ experience focused on mercury control, on top of

 nearly 15 years with EERC researching energy-related topics. Ex. 18 at 9:13–10:1, 21:17–22:7,

 27:16–23, 28:4–7. Inventor Holmes held a master’s degree in Chemical Engineering, spent the

 preceding three years at the EERC on research focused on mercury capture and particulate SO2

 and NOx, and more generally spent 15 years as a research engineer including work on coal

 combustion, pollutant emissions, and fuel processing. Ex. 19 at 12:4–20, 13:16–24, 16:20–18:12,

 21:5–16. Inventor Pavlish held a Bachelor’s degree in Mechanical Engineering and for the

 preceding 10 years served as a senior research advisor at the EERC focusing on air toxic metals

 with an emphasis on the emissions and capture of mercury, on top of nine years’ experience in

 industry designing components for power plants. Ex. 20 at 18:14–19:7, 20:10–21:4, 22:22–24:8,

 27:7–11. Despite this experience, Pavlish readily admitted he did not fully understand the

 chemistry in the patents. Id. at 92:6–11.

         The problems encountered in separating mercury from flue gas are complex. For example,

 gaseous phase reactions of bromine in flue gas resulting from coal combustion involves over a




                                                    37
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 56 of 71 PageID #: 11678




 dozen bromine species and nearly a hundred different chemical reactions, Niksa Decl. Ex. B at

 ¶ 25 n.10. As a result, in the early 2000s, technology in this field was developed by researchers in

 laboratories, not field engineers in power plants, because POSITAs needed to understand a variety

 of chemistry and engineering principles specific to coal combustion and removal of pollutants

 from gas streams. Id. Ex. A at ¶¶ 67, 70–168; id. Ex. C at ¶ 6.

        Defendants contend that a POSITA would have at least a Master’s degree in chemical

 engineering, chemistry, or a related field, knowledge of mercury chemistry, and at least two years’

 experience with research and development or implementing pollution control in power generation

 plants for natural gas, coal, and/or industrial waste incineration. Id. Ex. A at ¶ 67. This is

 consistent with, albeit less than, the inventors’ education and experience and reflects the technical

 field identified by the patents-in-suit and the problem addressed by the claimed inventions.

        Plaintiffs, on the other hand, contend that a POSITA would have a Bachelor’s degree in

 mechanical engineering, chemical engineering, chemistry, or a related field of technology and at

 least two years of experience dealing with power plant operation, and/or pollution control

 equipment. Ex. 11 ¶ 22 (p. 9). Plaintiff’s proposal is inconsistent with the testimony of the

 inventors. Pavlish far exceeds those requirements, yet he testified that “some of the chemistry” in

 the patents “is beyond my educational training and expertise.” Ex. 20 at Pavlish Dep. 92:6–11.

 Both Pavlish and Holmes were unable to answer or deferred to Olson on questions regarding the

 chemical technology of the patents, including the basic meaning of claim terms and whether certain

 technologies or chemical species fall within the scope of the claims. See, e.g., Ex. 20 Pavlish Dep.

 at 116:22–117:19, 119:5–9; Ex. 19 Holmes Dep. Tr. at 63:1–19, 66:13–67:13, 70:22–71:4, 124:7–

 125:5, 126:4–19, 193:9–18, 197:12–198:5. Olson’s specific chemical knowledge is integral to the

 POSITA. Accordingly, the record supports Defendants’ proposed level of skill for a POSITA.




                                                  38
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 57 of 71 PageID #: 11679




        Mr. O’Keefe lacks the education and experience necessary to testify from the perspective

 of a POSITA, even if the POSITA is defined at a much lower level than Defendants propose.

 Courts exclude witnesses from offering opinions from the point of view of a POSITA where, like

 Mr. O’Keefe, they lack experience in the technical field of the patents at issue. More generally,

 Mr. O’Keefe’s lack of education, training, experience, and knowledge regarding mercury

 emissions control techniques, renders him unqualified to offer any informed, reliable, and helpful

 testimony. Mr. O’Keefe cannot reasonably assist the trier of fact with understanding, for example,

 whether a reference teaching the creation of brominated activated carbon for mercury capture in a

 fluidized bed outside the flue would render obvious a claim covering the creation of brominated

 activated carbon in a gas transport line outside the flue, when he has no understanding of the

 chemistry involved and was working in the lawn equipment and medical device field while such

 mercury capture techniques were being devised. Indeed, one of the simpler questions for the

 experts in this case is whether there is infringement of the broad claims of the later patents through

 the use of CaBr2, but even that confused Mr. O’Keefe. He testified that the salt CaBr2 “comprises”

 the molecular compound Br2, a position that any freshman chemistry student would reject as

 absurd, until his counsel’s leading questions on redirect spotlighted his misconception. The Court

 should exclude his opinions on the subjects of infringement and invalidity.19



 19
     See Proveris Sci. Corp. v. Innovasystems, Inc., 536 F.3d 1256, 1268 (Fed. Cir. 2008) (engineer
 with experience in satellite design not qualified to testify about specific laboratory equipment);
 Hypertherm, Inc. v. Am. Torch Tip Co., No. 05-cv-373, 2009 WL 530064, at *4-*5 (D.N.H. Feb.
 27, 2009) (excluding expert with Ph.D. in mechanical engineering and 25 years of experience from
 testifying as POSITA regarding plasma arc torches because he had no experience designing or
 manufacturing plasma arch torches and relied on general principles of engineering); PayRange,
 Inc. v. Kiosoft Tech., LLC, No. 20-20970-cv, 2021 WL 7083639, at *2–*3 (S.D. Fla. Dec. 22,
 2021) (50 years of experience and knowledge were not adequate for POSITA testimony on mobile
 device and electronic payment systems because his experience predated development of such
 systems and he had no specific experience with them); Bial-Portela & CA. S.A. v. Alkem Lab. Ltd.,
 2022 WL 4244989 at *6–*7 (D. Del. 2022) (excluding a medical doctor in the relevant field and a

                                                  39
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 58 of 71 PageID #: 11680




        C.      Mr. O’Keefe Lacks the Qualification to Testify on Many Discrete Subject
                Areas Where He Has Offered Opinions.

        In explaining when an expert’s opinions should be excluded under Fed. R. Evid. 702, the

 Third Circuit cited with approval a pre-Daubert case, Aloe Coal Co. v. Clark Equip. Co., 816 F.2d

 110 (3d Cir. 1987), which held that a district court abused its discretion in allowing a tractor

 salesperson to testify as an expert about the cause of a tractor fire because he was unqualified to

 do so. See Elcock, 233 F.3d at 742. In making this determination, the Aloe Coal Court stated:

        Drewnoski [the expert witness] was not an engineer. He had no experience in designing
        construction machinery. He had no knowledge or experience in determining the cause of
        equipment fire. He had no training as a mechanic. He had never operated construction
        machinery in the course of business. He was a salesman, who at times prepared damage
        estimates.

 Id. (citations omitted). Under this standard, even if Mr. O’Keefe is not entirely disqualified, many

 of his proffered opinions and testimony should nevertheless be excluded.

        First, Mr. O’Keefe offers opinions that the accused power plants deploy ACI systems as a

 necessary means to comply with MATS regulations or the plants’ emission control permits. Ex.

 11 at ¶¶ 66, 99, 111, 133–97, 114–15, 120–21, 131–34, 137–49 (pp. 29, 62–63, 87, 102–19, 128–

 29, 131, 135–36, 138–46); Ex. 13 at ¶¶ 17–18, 34. But Mr. O’Keefe has no professional

 experience, education, or training regarding MATS, MATS compliance, power plant permitting,

 mercury emissions, mercury emission control technologies, or ACI systems. Indeed, his power

 plant experience predates the adoption of mercury emissions control by some two decades. He is

 wholly unqualified to opine on these matters.



 Ph.D. pharmaceutical scientist because neither had the education and experience of a POSITA);
 Kitsch LLC v. Deejayzoo, LLC, 2022 WL 17184603 at *3 (C.D. Ca. 2022) (excluding expert with
 degrees in textiles with “over 40 years of textile development and engineering experience”);
 Wright Asphalt Products Co., LLC v. Pelican Ref. Co., LLC, 2012 WL 1936416 at *3, *5 (S.D.
 Tex. 2012) (excluding licensed professional engineer with Ph.D. and 40 years of experience in
 machinery and manufacturing because he had no experience with asphalt formulation).


                                                 40
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 59 of 71 PageID #: 11681




        Second, Mr. O’Keefe also offers opinions on the mechanisms and chemistry of mercury

 capture at coal fired power plants. Ex. 11 at ¶¶ 54–68 (pp. 22–31); Ex. 13 at ¶¶ 23–30. He

 indisputably lacks meaningful education and training in chemistry, and has no education,

 experience, or training at all on flue gas chemistry, mercury chemistry, or the chemistry of mercury

 capture. The Court should exclude his testimony in these areas.

        Third, Mr. O’Keefe offers opinions on Defendants’ processes for preparing, testing and

 supplying Refined Coal to the accused power plants, and on the properties and combustion of

 Refined Coal. Ex. 11 at ¶¶ 79–84, 97–100 (pp. 41–46, 60–64). Here too, Mr. O’Keefe has no

 training or education on these subjects, and never even sought to compensate for that gap by

 visiting or observing a Refined Coal Facility, Refined Coal production or Refined Coal use. His

 testimony in this area should also be excluded.

        Fourth, Mr. O’Keefe offers opinions on the operation of SCR units and wet and dry

 scrubbers at coal fired power plants, and strategies for reducing mercury and other emissions. Id.

 at ¶¶ 32–36 (pp. 12–14). He has no qualifications to do so, Ex. 24 at 31:3–32:12, and his testimony

 on their use by a power plant should be excluded.

        Fifth, Mr. O’Keefe offers opinions relating to air pollution emission control permits,

 including what power plants need to do to comply with those permits. Ex. 11 at ¶¶ 40–44 (pp. 15–

 17). He has no experience with the power plant permitting process and no experience, training or

 education on power plant permit compliance. Accordingly, Mr. O’Keefe is not qualified to offer

 opinion testimony on the permitting process and permit compliance at power plants, and his

 testimony in these areas should be excluded.

        Sixth, Mr. O’Keefe offers technical opinions regarding the development of mercury

 capture technology, mercury emission control regulations at the state and federal level, and statutes




                                                   41
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 60 of 71 PageID #: 11682




 providing tax credits for clean coal technologies, including Refined Coal. Id. at ¶¶ 45–47 & 50–

 53 (pp. 18–22). Mr. O’Keefe has no qualifications to offer expert testimony in these areas. Thus,

 this testimony should be excluded.

        D.      Mr. O’Keefe’s Opinions on Matters that Are Improper for Expert Testimony
                Should Be Excluded.

        Expert opinions “must be capable of ‘help[ing the jury to] understand the evidence or to

 determine a fact in issue.’” Am. Cruise Lines, Inc. v. HMS Am. Queen Steamboat Co. LLC, No.

 13-CV-324 (RGA), 2017 WL 3528606, *3 (D. Del. Aug. 16, 2017) (citing Daubert, 509 U.S. at

 591). An expert cannot simply “recount[] the facts and then offer[] an opinion as to the conclusion

 which the jury should reach.” Omar v. Babcock, 177 F. App’x 59, 63 n.5 (11th Cir. 2006).

 “Conclusory statements of basic facts will not help the jury and fail to offer a reliable

 methodology[,] and an expert report [that] is nothing more than a recitation of facts paired with

 bare assertions” is properly excluded. Am. Cruise Lines, 2017 WL 3528606 at *4.

        “While Rule 704 allows experts to provide an opinion about the ‘ultimate issue’ in a case,

 it prohibits experts from opining about the ultimate legal conclusion or about the law or legal

 standards.” Patrick v. Moorman, 536 Fed. Appx. 255, 258 (3d Cir. 2013); see also In re Tylenol

 (Acetaminophen) Mktg., Sales Practices & Products Liab. Litig., 181 F. Supp. 3d 278, 294–95

 n.27 (E.D. Pa. 2016) (collecting cases on prohibition of legal opinion expert testimony and expert

 testimony regarding intent, motive, or state of mind, or evidence by which such state of mind may

 be inferred). A trial court should properly exclude such testimony, especially when it is nothing

 more than bald legal conclusions based on facts the expert assumes to be correct. SA Music LLC

 v. Apple, Inc., 592 F. Supp. 3d 869, 902 (N.D. Cal. 2022).

        Finally, speculation as to another’s knowledge, intent, or state of mind is impermissible.

 W.L. Gore & Associates, Inc. v. C.R. Bard, Inc., No. 11-515-LPS-CJB, 2015 WL 12815314, at *5



                                                 42
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 61 of 71 PageID #: 11683




 (D. Del. Nov. 11, 2015); Shire Viropharma Inc. v. CSL Behring LLC, No. 17-414, 2021 WL

 1227097, at *5 (D. Del. Mar. 31, 2021); see also Am. Cruise Lines, 2017 WL 3528606 at *5

 (“Intent is not a proper topic for expert testimony.”).

        Mr. O’Keefe’s opinions are rife with irrelevant fact-recasting narratives that lie outside of

 any expertise he might possess:

           Section 5.2 (an “Overview of Defendant (sic) Corporate Structure”). Ex. 11 at ¶¶ 85–
            95 (pp. 46–57).

           Section 5.4 (“Defendant Interactions with Power Plants and Knowledge of Activated
            Carbon Injection”). Id. at ¶¶ 101–111 (pp. 64 – 87).

           Section 5.5 (“Defendant Information Regarding ME2C Patents”). Id. at ¶¶ 112–122
            (pp. 87–94).

           Section 5.6 (“Evidence Related to Defendant Conduct Leading to Infringement”). Id.
            at ¶¶ 123–132 (pp. 94–101).

           Section 7.1 (“Induced Infringement”). Id. at ¶¶ 99–108 (pp. 123–127).

           Section 7.2 (“Contributory Infringement”). Id. at ¶¶ 110–118 (pp. 127–130).

 In each instance, Mr. O’Keefe simply recounts facts, then impermissibly offers his opinions, as a

 proxy for ME2C’s counsel, on the conclusion that the jury should reach on indirect infringement.

        Mr. O’Keefe’s opinions on induced and contributory infringement are further infected by

 inappropriate legal conclusions, referencing “the expectation” of “risk” resulting from “indemnity

 provisions”; actions that purportedly “led to infringement”; and so on. Perhaps none is so blatant

 as his opinion that “[a] fact-finder could conclude that the Defendants intended for their power

 plant customers to infringe.” Id. at ¶ 104 (p. 126). This and other such opinions, collected at Egan

 Decl. ¶ h far exceed the scope of admissible expert testimony.

        Mr. O’Keefe strays outside expert terrain throughout his report, with forays into contract

 interpretation and party motivation (“These payments are made to incentivize . . . .”), and other

 conclusions about jurors (“There is evidence from which a fact-finder could conclude that


                                                  43
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 62 of 71 PageID #: 11684




 Defendants were aware of the patents-in-suit.”). This and other such opinions, collected at Egan

 Decl. ¶ i, are also far outside the scope of admissible expert testimony and should be excluded.

        E.      Mr. O’Keefe’s Opinions on Contributory Infringement Should Be Excluded
                Because He Did Not Consider Non-Infringing Uses by Power Plants Outside
                of the Case.

        In rendering his opinion that the Refined Coal supplied by Defendants was not suitable for

 substantial non-infringing uses, Id. at ¶ 113 (p. 128), Mr. O’Keefe ignored: (i) power plants

 outside of this lawsuit that burn Refined Coal without using ACI; and (ii) accused power plants’

 use of Refined Coal before those plants installed an ACI system—during which time they could

 not have infringed the patents-in-suit. Id. at ¶¶ 113–114 (pg. 128); Ex. 13 at ¶ 3. Those uses are

 indisputably non-infringing and substantial, as Mr. O’Keefe admitted.          Ex. 25 at 282:5–

 283:2362:12–363:23. Yet his opinion, at Ex. 11 at ¶¶ 110–149 (pp. 127–145) and Ex. 13 at ¶¶ 2–

 19, offers no basis exclude them from consideration.

        Admissible opinions must be “more than subjective belief or unsupported speculation,”

 Daubert, 509 U.S. at 590, and “based on sufficient facts,” Fed. R. Ev. 702. They must be

 “formulat[ed]” using “reliable” methodology. Am. Cruise Lines, 2017 WL 3528606 at *3. Mr.

 O’Keefe’s opinions on significant non-infringing uses should be excluded because of his failure

 to consider these significant non-infringing uses, or provide a reliable methodology for excluding

 them from his analysis.

        F.      Mr. O’Keefe’s Opinions on Secondary Considerations Are Beyond His Field
                of Expertise and Based on Fundamental Methodological Errors.

        Mr. O’Keefe’s opinions on secondary considerations of non-obviousness are conclusory,

 beyond any expertise he may have, and not based on reliable methodology.

        First, Mr. O’Keefe renders opinions on the import of ME2C’s revenue for its allegedly

 patented process, Ex. 12 at ¶¶ 204–208, and the government’s economic interest in research



                                                 44
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 63 of 71 PageID #: 11685




 investments. Id. at ¶¶ 214–215. Because he lacks any training or expertise in economics or

 business finance, those opinions should be excluded.

        Second, Mr. O’Keefe does not apply reliable methodology, or even state any methodology,

 for establishing a “nexus” between the evidence of secondary considerations and the claims. See

 Fox Factory, Inc. v. SRAM, LLC, 944 F.3d 1366, 1373 (Fed. Cir. 2019) (internal quotation marks

 omitted) (“there must be a legally and factually sufficient connection between the evidence and

 the patented invention.”). He does not explain how he evaluated the alleged commercial success

 of ME2C’s offerings; does not account for exogenous forces that could create perceived, but

 unrelated, value in the claimed inventions; and does not distinguish between the value of the

 patents-in-suit and either (i) other ME2C patents or trade secrets, or (ii) the broader use of halogens

 in mercury removal. Lawton Decl. Ex. 3 at ¶¶ 8–10, 22–115. With these failings, his secondary

 consideration opinions should be excluded.

 X.     The Court Should Exclude the Royalty Rate Opinions of Plaintiffs’ Damages
        Expert, Philip Green, Because They Are Not Based on Reliable Methodology.

        A.      Mr. Green Has No Basis to Compare ME2C’s Patents to Anyone Else’s.

        “The Federal Circuit has instructed district courts ‘to exercise vigilance when considering

 past licenses to technologies other than the patent in suit.’” IOENGINE, LLC v. PayPal Holdings,

 Inc., 607 F. Supp. 3d 464, 501 (D. Del. 2022) (emphasis removed) (quoting ResQNet.com, Inc. v.

 Lansa, Inc., 594 F.3d 860, 869 (Fed. Cir. 2010)). Before a damages expert can be permitted to

 derive a reasonable royalty opinion from real-world licenses that do not cover the patents-in-suit,

 that expert must have (i) a technological basis to compare the licensed patents with the patents-in-

 suit and (ii) an economic basis to compare the rate in the real-world license (which may have other

 terms and components) with the rate the defendant would pay for a bare license to the patents-in-

 suit (and nothing more). See TC Tech. LLC v. Sprint Corp., 1:16-CV-00153-RGA, 2019 WL



                                                   45
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 64 of 71 PageID #: 11686




 5295232, at *2 (D. Del. Oct. 18, 2019) (expert must “account for the technological and economic

 differences between [prior] licenses and [proposed license]”) (citation omitted); Zimmer Surgical,

 Inc. v. Stryker Corp., 365 F. Supp. 3d 466, 494–95, 2019 WL 1082336 (D. Del. 2019) (same).

        Mr. Green’s opinions lack the requisite technological and economic bases needed to

 compare real-world licenses to a hypothetical negotiation, rendering his opinions unreliable. The

 Court should exclude his testimony on those licenses.

        First, Mr. Green has no technological basis to compare the ME2C patents (directed to

 mercury control in power plants) to any of the Nalco, ADA-ES, or Chem-Mod patents (which

 cover mercury control, NOx control, SOx control, Refined Coal manufacturing, non-brominated

 Refined Coal preparation, and various business methods, among other subjects). See, e.g., Ex. 26

 at 87:5–87:16–88:11;93:6–93:24. Mr. Green asserts only that these four companies’ technologies

 are “similar” and thus “comparable,” see Ex. 14 ¶¶ 190, 199, because they are from the same

 general field. See generally Ex. 26 at 157:17–161:3. But “[w]hen relying on licenses to prove a

 reasonable royalty, alleging a loose or vague comparability between different technologies or

 licenses does not suffice.” LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 79 (Fed.

 Cir. 2012). Mr. Green cannot remedy this defect at trial, because ME2C’s technical expert has not

 offered a sufficiently reliable predicate to compare ME2C’s patents to anyone else’s. See Ex. 11

 at ¶ 157 (p. 149) (opining that certain patents are comparable only “in the sense that they are drawn

 toward the same field of technology”).

        The law compels exclusion of Mr. Green’s deficient opinions. See, e.g., TC Tech. LLC v.

 Sprint Corp., 2019 WL 5295232, at *2 (D. Del. Oct. 18, 2019) (excluding damages opinion where

 expert “glaze[d] over the concept [of comparability]” by casting the patents as

 “‘telecommunications patents’”); Zimmer Surgical, Inc. v. Stryker Corp., 365 F. Supp. 3d 466,




                                                  46
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 65 of 71 PageID #: 11687




 495–96, 2019 WL 1082336 (D. Del. 2019) (excluding damages expert who used “broad and

 nebulous language to describe the technological comparability of the patents,” including that the

 patents “provide benefits along the same general lines as” the patents-in-suit).

        Mr. Green fares no better on the economic comparability requirement. He admits that the

 Chem-Mod licenses were entered into under circumstances far different from the arm’s-length,

 patent-focused transaction contemplated by the hypothetical negotiation. See Ex. 26 at 64:3–65:2,

 96:21–97:5 (opining that Chem-Mod agreements were entered as part of a closed, “common

 structure” of companies designed to earn and claim Section 45 tax credits, which involved multiple

 corporate relationships and included engineering, technical, financial, and business support

 provided through that structure). Mr. Green offers no basis to conclude that those circumstances

 should or could apply to the hypothetical negotiation.

        Mr. Green’s reliance on the Nalco agreement requires a heightened showing of economic

 comparability because it is a litigation settlement. See ePlus, Inc. v. Lawson Software, Inc., 764

 F. Supp. 2d 807, 813 (E.D.Va. 2011) (settlement agreements “entered into in the context of

 litigation” have “minimal probative value” to the “calculation of reasonable royalties,” especially

 where “the settlement occurred years after the hypothetical negotiation”); LaserDyamics, 694 F.3d

 at 78 (a settlement entered into “a full three years after the hypothetical negotiation date, is in many

 ways not relevant to the hypothetical negotiation analysis” and reflects “not the value of the

 claimed invention but the strong desire to avoid further litigation”). Mr. Green provides no reason

 why the circumstances of the Nalco settlement might be similar to those of the hypothetical

 negotiation, or even a bare opinion that they are; indeed, he “understands” that the settlement

 amount was not equivalent to the royalty damages that would have been awarded if the case had

 proceeded to trial. Ex. 14 at ¶¶ 79, 125–127.




                                                   47
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 66 of 71 PageID #: 11688




        Mr. Green’s failures on the ADA-ES agreement are similar. He recognizes that the ADA-

 ES agreement was an exclusive license to a company in which the licensor had an interest, which

 it had formed to commercialize the licensor’s inventions, but Mr. Green offers no opinion that

 would let a jury bridge the gap between that type of arrangement and the hypothetical negotiation

 between ME2C and Defendants. See id. ¶¶ 174–78; cf. Minks v. Polaris Indus., Inc., 546 F.3d

 1364, 1373 (Fed. Cir. 2008) (because the “hypothetical negotiation is deemed to be an arm’s length

 transaction,” courts should not “accept as conclusive the royalty arrangement” between “[non-

 ]competitors”) (internal quotations omitted).

        With no reliable bases for his technological comparability assumption, and no economic

 comparability opinions at all, Mr. Green’s reasonable royalty opinions should be excluded insofar

 as they rely on rates paid under the Chem-Mod, Nalco, or ADA-ES agreements.

        B.      Mr. Green Did Not Apportion the Non-ME2C Royalty Rates.

        “The patentee ‘must in every case give evidence tending to separate or apportion the

 defendant’s profits and the patentee’s damages between the patented feature and the unpatented

 features.’” Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 904 F.3d 965, 977

 (Fed. Cir. 2018) (citations omitted). Here, “[h]aving built [his] damages case[] on licenses which

 assigned no value to particular patents, but only on access to . . . technology,” it was incumbent on

 Mr. Green to “isolate the incremental value of [the patents covered by the licenses] to the final

 product.” Mondis Tech. Ltd v. LG Electronics, Inc., 407 F. Supp. 3d 482, 492–93 (D.N.J. 2019).

 Because the licenses were for other companies’ patents, Mr. Green also needed to isolate the

 portion of each license fee attributable to the patents that he assumed were comparable to the

 patents-in-suit. He did not.

        Mr. Green’s apportionment opinion is even weaker than that of the typical expert who

 assigns a specific percentage based on vague generalities. See, e.g., Guardant Health, Inc. v.


                                                  48
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 67 of 71 PageID #: 11689




 Foundation Med., Inc. No. 17-1616-LPS-CJB, Slip. Op. at 34–35 (D. Del. Apr. 22, 2020)

 (excluding opinion that 50% of accused product’s value was attributable to patented features,

 based only on technical expert’s opinion that “patented technology is ‘foundational’ to the accused

 products”). Here, Mr. Green offers no apportionment theory at all for the Nalco or ADA-ES

 licenses, while his opinion on Chem-Mod is that no apportionment is necessary—he assumes that

 the full Chem-Mod payment was for “comparable” mercury emission reduction technology alone.

 He ignored the additional benefits provided under the Chem-Mod licenses, such as technology for

 NOx reduction and consulting and business services relating to Section 45, and made no effort to

 value those other significant benefits, suggesting that he could not do so. Ex. 26 at 89:13–92:7,

 93:25–94:16, 213:18–216:14, cf. Mondis Technology Ltd. v. LG Electronics, Inc., 407 F.3d 482,

 493 (Plaintiff’s damages case did not satisfy the apportionment requirement because “the scope of

 th[e] exemplary agreement differs substantially from the scope of” the patent-in-suit).

         Mr. Green’s opinion on royalty rates also must be excluded because he does not apportion

 out the value of the Section 45 tax credits earned by the licensees of Chem-Mod’s, Nalco’s, and

 ADA-ES’s technology. In fact, he does the opposite: he admits that the basis for his opinion that

 Defendants should pay more than anyone else ever has to license ME2C’s patents is that, unlike

 other ME2C licensees, Defendants made and sold Refined Coal, which earned them tax credits.

 Ex. 14 at, e.g., ¶¶ 127–128, 149, 151; Ex. 15 at, e.g., ¶¶ 16 (“[t]he Section 45 tax credits . . . serve

 as the economic basis for the alleged infringement by the RC Defendants”), 251, 256.

         This opinion is fundamentally flawed for two reasons. First, it is undisputed that the

 patents-in-suit do not claim or enable qualifying for Section 45 tax credits or reducing NOx, a

 requirement to earn those credits—thus, the value of the credits cannot be attributed to the alleged

 infringement. See Ex. 29 at 2; Ericsson, 773 F.3d at 1226 (“[T]he ultimate combination of royalty




                                                   49
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 68 of 71 PageID #: 11690




 base and royalty rate must reflect the value attributable to the infringing features of the product,

 and no more.”). Second, even if practicing the patents-in-suit were incidentally necessary to earn

 the tax credits, the value of the allegedly infringing Refined Coal would still be attributable to the

 legal requirements that taxpayers must meet to earn tax credits—rather than to the value of any

 particular technical contribution of the patents-in-suit to the field of mercury reduction. The value

 of tax code compliance—comparable to the value inherent in meeting a standard set by an

 organization—would still need to be apportioned out. Cf. id. at 1233 (“[T]he royalty for [standard

 essential patents] should reflect the approximate value of that technological contribution, not the

 value of its widespread adoption due to standardization.”). Either way, Mr. Green has no basis to

 include the value of the tax credits in his calculation of a reasonable royalty for the patents-in-

 suit—it should have been apportioned out, but wasn’t. See Ex. 26 at 213:18–216:14.

         Because Mr. Green’s refusal to apportion was born from a “lack of sufficiently reliable

 methodology,” see Guardant Health, No. 17-1616-LPS-CJB at 36, his royalty rate opinion must

 be excluded. See SUNOCO Partners Mktg. & Terminals L.P. v. Powder Springs Logistics, LLC,

 CV 17-1390-LPS-CJB, 2020 WL 7330715, at *4–7 (D. Del. Jan. 13, 2020) (excluding opinion

 where prior agreements “not only license[d] . . . patents but also provide[d] . . . ‘a basket of

 services’” that expert did not apportion out); see also ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d

 860, 870 (Fed. Cir. 2010).

                                            CONCLUSION

         For the foregoing reasons, summary judgment should be granted dismissing all claims with

 prejudice, or, to the extent such relief is not granted in its entirety, dismissing the claims, theories,

 and damages periods against particular defendants as set forth in the Proposed Order, and

 excluding the testimony of Mr. O’Keefe and Mr. Green.




                                                    50
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 69 of 71 PageID #: 11691




                                        MORRIS, NICHOLS, ARSHT &TUNNELL LLP

                                        /s/ Brian P. Egan
                                        ____________________________________
                                        Jack B. Blumenfeld (#1014)
  OF COUNSEL:                           Brian P. Egan (#6227)
                                        Anthony D. Raucci (#5948)
  Richard W. Mark                       1201 North Market Street
  Joseph Evall                          P.O. Box 1347
  Paul J. Kremer                        Wilmington, DE 19899
  GIBSON, DUNN & CRUTCHER LLP           (302) 658-9200
  200 Park Avenue                       jblumenfeld@morrisnichols.com
  New York, NY 10166-0193               began@morrisnichols.com
  (212) 351-4000                        araucci@morrisnichols.com

  David Glandorf                        Attorneys for Defendants
  GIBSON, DUNN & CRUTCHER LLP           AJG Iowa Refined Coal LLC
  1801 California Street, Suite 4200    Arbor Fuels Company, LLC
  Denver, CO 80202-2642                 Belle River Fuels Company, LLC
  (303) 298-5700                        Canadys Refined Coal, LLC
                                        Chouteau Fuels Company, LLC
                                        Coronado Refined Coal, LLC
                                        DTE Energy Resources, LLC
                                        Erie Fuels Company, LLC
                                        George Neal North Refined Coal, LLC
                                        George Neal Refined Coal, LLC
                                        Hastings Refined Coal, LLC
                                        Huron Fuels Company, LLC
                                        Jasper Fuels Company, LLC
                                        Jefferies Refined Coal, LLC
                                        Joppa Refined Coal LLC
                                        Louisa Refined Coal, LLC
                                        Newton RC, LLC
                                        Portage Fuels Company, LLC
                                        Superior Fuels Company 1, LLC
                                        Walter Scott Refined Coal LLC
                                        Williams Refined Coal, LLC




                                       51
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 70 of 71 PageID #: 11692




                                           MORRIS JAMES LLP

                                           /s/ Kenneth L. Dorsney
                                           ____________________________________
  OF COUNSEL:                              Kenneth L. Dorsney (#3726)
                                           Cortlan S. Hitch (#6720)
  Jeff Dyess                               500 Delaware Avenue, Suite 1500
  Paul Sykes                               Wilmington, DE 19801-1494
  Benn Wilson                              (302) 888-6800
  BRADLEY ARANT BOULT CUMMINGS LLP         kdorsney@morrisjames.com
  1819 Fifth Avenue North                  chitch@morrisjames.com
  Birmingham, AL 35203
   (205) 521-8000                          Attorneys for Defendants
                                           Bascobert (A) Holdings LLC
  Jessica Zurlo                            Buffington Partners LLC
  BRADLEY ARANT BOULT CUMMINGS LLP         CERT Operations II LLC
  1615 L Street NW, Suite 1350             CERT Operations IV LLC
  Washington, D.C. 20036                   CERT Operations RCB LLC
  (202) 393-7150                           CERT Operations V LLC
                                           Cottbus Associates LLC
                                           Larkwood Energy LLC
                                           Marquis Industrial Company, LLC
                                           Rutledge Products LLC
                                           Senescense Energy Products LLC
                                           Springhill Resources LLC

                                          SKADDEN, ARPS,SLATE,MEAGHER& FLOM LLP

                                          /s/ Jessica R. Kumz
  OF COUNSEL:                             ____________________________________
                                          Robert S. Saunders, Esquire
  Douglas R. Nemec, Esquire               Nicole A. DiSalvo, Esquire
  Leslie A. Demers, Esquire               Jessica R. Kunz, Esquire
  SKADDEN, ARPS,SLATE,MEAGHER& FLOM LLP   Daniel S. Atlas, Esquire
  One Manhattan West                      One Rodney Square
  New York, NY 10001-8602                 P.O. Box 636
  (212) 735-300                           Wilmington, DE 19899-0636

                                          Attorneys for Defendant Alistar Enterprises,
                                          LLC

 March 23, 2023




                                          52
Case 1:19-cv-01334-CJB Document 538 Filed 03/31/23 Page 71 of 71 PageID #: 11693




                                CERTIFICATE OF SERVICE

        I hereby certify that on March 23, 2023, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on

 March 23, 2023, upon the following in the manner indicated:

  James M. Lennon, Esquire                                            VIA ELECTRONIC MAIL
  DEVLIN LAW FIRM LLC
  1526 Gilpin Avenue
  Wilmington, DE 19806
  Attorneys for Plaintiffs

  Bradley W. Caldwell, Esquire                                        VIA ELECTRONIC MAIL
  Jason D. Cassady, Esquire
  John Austin Curry, Esquire
  Justin T. Nemunaitis, Esquire
  Adrienne R. Dellinger, Esquire
  Daniel R. Pearson, Esquire
  CALDWELL CASSADY CURRY PC
  2121 North Pearl Street, Suite 1200
  Dallas, TX 75201
  Attorneys for Plaintiffs



                                             /s/ Brian P. Egan

                                             Brian P. Egan (#6227)
